  20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 1 of 89
FORM 104 (10/06)


                                                                                                                ADVERSARY PROCEEDING NUMBER
              ADVERSARY PROCEEDING COVER SHEET                                                                  (Court Use Only)
                      (Instructions on Reverse)

 PLAINTIFFS                                                                              DEFENDANTS
                                                                                        Romspen Mortgage Limited Partnership; Romspen
Daniel White, individual and as Trustee, et al.                                         Investments Corporation; Adam Zarafshani,
                                                                                                                      Zar                                       Construction
                                                                                        and Development, Inc.
 ATTORNEYS (Firm Name, Address, and Telephone No.)                                       ATTORNEYS (If Known)
Bruce Duke, Esq, Bruce J. Duke, LLC
788 Shrewsbury Ave., Suite 2220, Tinton
Falls, NJ 07724 (856) 701-0555

 PARTY (Check One Box Only)                                                             PARTY (Check One Box Only)
 □ Debtor     □ U.S. Trustee/Bankruptcy Admin                                           □ Debtor     □ U.S. Trustee/Bankruptcy Admin
 ✔
 □ Creditor   □ Other                                                                   ✔
                                                                                        □ Creditor   □ Other
 □ Trustee                                                                              □ Trustee
 CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
Breach of Fiduciary Duty, Fraud in the Inducement, Fraud, Constructive Fraud, Real Estate Fraud, Negligent Misrepresentation, Negligence, Gross
Negligence, Breach of the Duty of Good Faith and Fair Dealing, Economic Duress, Civil Conspiracy, Action in Accounting, Disallowance of Claims,
Determination of Secured Creditor Status, Disallowance of Credit Bidding, Constructrive Trust and Injunction

                                                                         NATURE OF SUIT
                   (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)


□                                                                                      □
     FRBP 7001(1) – Recovery of Money/Property                                              FRBP 7001(6) – Dischargeability (continued)
     11-Recovery of money/property - §542 turnover of property                              61-Dischargeability - §523(a)(5), domestic support
□    12-Recovery of money/property - §547 preference                                   □    68-Dischargeability - §523(a)(6), willful and malicious injury
□2   13-Recovery of money/property - §548 fraudulent transfer                          □    63-Dischargeability - §523(a)(8), student loan
□    14-Recovery of money/property - other                                             □    64-Dischargeability - §523(a)(15), divorce or separation obligation (other
                                                                                               than domestic support)

□1
     FRBP 7001(2) – Validity, Priority or Extent of Lien
     21-Validity, priority or extent of lien or other interest in property
                                                                                       □    65-Dischargeability - other



                                                                                       □3
                                                                                       FRBP 7001(7) – Injunctive Relief

□
     FRBP 7001(3) – Approval of Sale of Property                                          71-Injunctive relief – reinstatement of stay
     31-Approval of sale of property of estate and of a co-owner - §363(h)             □    72-Injunctive relief – other


□
     FRBP 7001(4) – Objection/Revocation of Discharge
                                                                                       □
                                                                                       FRBP 7001(8) Subordination of Claim or Interest
     41-Objection / revocation of discharge - §727(c),(d),(e)
                                                                                          81-Subordination of claim or interest


□
     FRBP 7001(5) – Revocation of Confirmation
                                                                                       □
                                                                                       FRBP 7001(9) Declaratory Judgment
     51-Revocation of confirmation
                                                                                          91-Declaratory judgment


□
     FRBP 7001(6) – Dischargeability
                                                                                       □
                                                                                       FRBP 7001(10) Determination of Removed Action
     66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims
□    62-Dischargeability - §523(a)(2), false pretenses, false representation,
                                                                                          01-Determination of removed claim or cause

         actual fraud
□                                                                                      □
                                                                                       Other
     67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny           SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.

                        (continued next column)
                                                                                       □4   02-Other (e.g. other actions that would have been brought in state court if
                                                                                                unrelated to bankruptcy case)


 ✔
 □ Check if this case involves a substantive issue of state law                          □ Check if this is asserted to be a class action under FRCP 23
 □ Check if a jury trial is demanded in complaint                                        Demand $          250,000,000.00
 Other Relief Sought
  20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 2 of 89
FORM 104 (10/06), Page 2

                     BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                  BANKRUPTCY CASE NO.
3443 Zen Garden, L.P.                                                           20-10410-HCM
DISTRICT IN WHICH CASE IS PENDING                  DIVISIONAL OFFICE                 NAME OF JUDGE
WESTERN                                            AUSTIN                            H. CHRISTOPHER MOTT
                                    RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                            DEFENDANT                             ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING             DIVISIONAL OFFICE                 NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)




DATE                                 PRINT NAME OF ATTORNEY (OR PLAINTIFF)
     August 20, 2020                     BRUCE DUKE




                                                     INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists
of all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an
adversary proceeding.

          A party filing an adversary proceeding must also must complete and file Form 104, the Adversary Proceeding
Cover Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF
captures the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not
represented by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented
by an attorney, the plaintiff must sign.
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 3 of 89




                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                                      §
    In re:                                            §    CHAPTER 11
                                                      §
    3443 ZEN GARDEN, L.P.                             §    CASE NO. 1:20-10410-HCM
                                                      §
                                          Debtor.     §
                                                      §
                                                      §
    DANIEL WHITE, individual and as Trustee           §
     DAN WHITE FAMILY TRUST, A                        §
     CANADIAN TRUST; DAN WHITE                        §
     FAMILY TRUST, A CANADIAN TRUST;                  §    Adversary No.
     ABSOLUTE ENVIRONMENTAL WASTE                     §
     MANAGEMENT INC, ABSOLUTE                         §
     ENERGY RESOURCES INC, LOT 11 GP,                 §
     LTD., LOT 11 LIMIITED PARTNERSHIP,               §
     ECO INDUSTRIAL BUSINESS PARK                     §
     INC, SYMMETRY ASSET                              §
     MANAGEMENT INC, LINCOLN 1861,                    §
     INC.;                                            §
                                                      §
                                        Plaintiffs,   §
                                                      §
    vs.                                               §
                                                      §
    ROMSPEN MORTGAGE LIMITED
    PARTNERSHIP; ROMSPEN
    INVESTMENTS CORPORATION; ADAM
    ZARAFSHANI; PANACHE
    CONSTRUCTION AND DEVELOPMENT,
    INC.,

                                     Defendants.

                                   ADVERSARIAL COMPLAINT

             PLAINTIFFS, parties in interest in the above captioned Chapter 11 Bankruptcy

   proceeding, file this twenty-six count Adversarial Complaint, sounding in (1) Breach of

   Fiduciary Duty, (2) Fraud in the Inducement, (3) Fraud, (4) Constructive Fraud, (5) Real Estate

   Fraud, (6) Negligent Misrepresentation, (7) Negligence, (8) Gross Negligence, (9) Breach of the
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 4 of 89




   Duty of Good Faith and Fair Dealing, (10) Economic Duress, Civil Conspiracy, (11) Action in

   Accounting, (18) Disallowance of Claims pursuant to 11 U.S.C. § 502, (12) Determination of

   Secured Creditor Status pursuant to 11 U.S.C. § 506, (13) Disallowance of Credit Bidding 11

   U.S.C. § 363(k), (14) Constructive Trust, and (15) Injunction.


                                   I. JURISDICTION AND VENUE

            1.       Plaintiffs commence this adversary proceeding pursuant to Rule 7001(1) and (9)

   of the Federal Rules of Bankruptcy Procedure. The Court has jurisdiction over this Adversary

   proceeding pursuant to section 28 U.S.C. § 1334, and the July 10, 1984, Standing Order of

   Referral of Cases to Bankruptcy Judges. This Court also has jurisdiction over the entry of final

   orders and judgments with respect to this “core” proceeding, pursuant to 28 United States Code

   §§ 157(b)(2)(A), (E) and (O). This Court has supplemental jurisdiction over any and all state

   claims pursuant to 28 U.S.C. §§ 1367. Venue is proper in this District (a) pursuant to 28 United

   States Code §§ 1408 and/or 1409, and (b) pursuant to 28 U.S.C. 1391 (a) and (b), as a substantial

   part of the events or omissions giving rise to subject claims occurred in this judicial district, and

   a substantial part of the property associated with the subject claims is situate therein.

                                   II. NATURE OF THE CASE

            2.       The allegations herein emanate from Defendants’ individual and/or collective,

   collusive and/or conspiratorial conduct in utilizing a fraudulent “loan to own” scheme intended

   and calculated by Defendants, or any of them, to rob Plaintiffs and the bankrupt-debtor of

   ownership interests and expected profits in and related to the development/re-development of

   property located in the City of Austin, previously owned by one or more of the Defendants.

            3.       The loans and/or credit facilities arranged by the mezzanine lender Defendant,

   were “hard money” loans with exorbitant interest, administration, participation, origination




   4811-1816-7240, v. 1
                                                     2
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 5 of 89




   and/or other hidden fees, conditioned upon unconscionable “construction related” contract

   terms/conditions, guarantees, and/or requiring gross over-collateralization (hereinafter “loan

   terms”).

            4.       The lender Defendant exercised virtually exclusive control over the satisfaction of

   loan terms, and injected itself directly into Plaintiffs’ business with the Defendant

   developer/builder’s assistance by ingratiating him and his company with favorable loan terms

   and other economic interests/benefits.

            5.       Upon information and belief, the lender Defendant exploited the

   builder/developer’s knowledge of Plaintiffs’ financial and other affairs, position as Plaintiffs’

   Trustee, as well as builder/developer’s position as developer and/or General Contractor, in a

   collusive and conspiratorial effort to induce, cause and/or otherwise precipitate default upon the

   bankrupt-debtor’s property loan(s) and/or credit facilities.

            6.        At all times material hereto, the lender Defendant acted in a capacity

   incommensurate with being a “mere lender,” and preyed upon the economic interests of the

   Plaintiffs and/or the bankrupt-debtor to complete its collusive and conspiratorial scheme of

   precipitating the aforementioned default and, ultimately, taking over valuable commercial real

   estate in which Plaintiffs and had significant interests.

            7.            After positioning itself to take possession of multiple real estate and business

   assets owned by Plaintiffs and/or the bankrupt-debtor, via fraudulently manufacturing and then

   inflating the bankrupt-debtor’s debt, the lender Defendant, now seeks to launder its

   conspiratorial, fraudulent and/or otherwise illegal activity, by taking ownership of the bankrupt-

   debtor’s Austin property as a credit bidder and post-petition super-priority financer, by way of a

   Court Order authorizing the planned takeover, all to the ultimate detriment of the Plaintiffs




   4811-1816-7240, v. 1
                                                           3
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 6 of 89




   and/or any of them.

                                           III. PARTIES

            8.       Plaintiff Dan White Family Trust (hereinafter “DWFT”) was, at all times material

   to this Complaint, an Alberta-Canada Trust, duly formed, created and/or settled in the Province

   of Alberta for purposes, including, but not limited to, holding, managing, operating and/or

   investing all or any portion of the trust’s assets (hereinafter “DWFT asset(s)”) in the best

   interests of the trust and its Beneficiaries

            9.       Plaintiff Daniel White (“WHITE”), at all times material hereto, is a Canadian

   citizen, residing in the Province of Alberta, asserting causes of action herein individually and/or

   as Trustee of the DWFT and/or DWFT assets.

            10.      At all times material hereto WHITE was and continues to be a Trustee and/or a

   Discretionary Beneficiary of the Dan White Family Trust (hereinafter “DWFT”), engaged in

   and/or acting on behalf of DWFT and/or DWFT assets, in the course of the DWFT’s business

   of holding, managing, operating and/or investing DWFT assets.

            11.      At all times material hereto, WHITE held positions in DWFT assets including,

   but not limited to, officer, director, manager and/or other representative.

            12.      In one or more of the aforementioned capacities and/or as a DWFT Trustee,

   WHITE made decisions for and/or caused corporate action by DWFT assets, to facilitate the

   DWFT’s business of holding, managing, operating and/or investing all or any portion of the

   trust’s assets.

            13.      At all times material hereto, WHITE, in the course of conducting and/or

   executing DWFT business was, among other things, permitted to (1) appoint and/or nominate

   other trustees, create further DWFT corporations, (2) partnerships and/or other necessary




   4811-1816-7240, v. 1
                                                     4
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 7 of 89




   corporate business vehicles, (3) appoint/nominate DWFT asset managers, partners, officers

   and/or directors and/or (4) otherwise transfer, collateralize, pledge, and/or otherwise dispose

   of/utilize DWFT assets, to effect the purpose and/or de facto business of the DWFT.

            14.      Plaintiff 1468527 Alberta Ltd., (hereinafter “ALBERTA CORP”), is a company

   duly formed and incorporated under the laws of the Province of Alberta, Canada, with a

   registered head office located at 9707 110th St. N.W., Suite 600, Edmonton, Alberta.

            15.      At all times material hereto, the DWFT held and/or owned 1468527 Alberta Ltd.,

   (hereinafter “ALBERTA CORP”), a company duly formed and incorporated under the laws of

   the Province of Alberta, Canada, with a registered head office located at 9707 110th St. N.W.,

   Suite 600, Edmonton, Alberta.

            16.      At all times material hereto, ALBERTA CORP, was the sole owner/shareholder

   of Purple Tree Int’l, Ltd. (hereinafter “PURPLE TREE”), an Alberta corporation duly formed

   and created under the laws of the Province of Alberta, Canada.

            17.      At all times material hereto, ALBERTA CORP, was the sole owner/shareholder

   of Blue Roots Int’l, Ltd. (hereinafter “BLUEROOTS”), an Alberta corporation duly formed and

   created under the laws of the Province of Alberta, Canada.

            18.      Plaintiff Lincoln 1861, Inc. (hereinafter “LINCOLN”) was, at times material

   hereto, a corporation duly formed and incorporated under the laws of the State of Texas, with a

   principle office located in Austin Texas.

            19.      At all times material hereto, BLUEROOTS, was the sole owner/shareholder of

   LINCOLN.




   4811-1816-7240, v. 1
                                                     5
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 8 of 89




            20.      At all times material hereto, the bankrupt-debtor entity 3443 Zen Garden L.P.

   (hereinafter “ZEN”) was a Texas Limited Partnership with a head office located in Austin,

   Texas, comprised of one General Partner and two Limited Partners.

            21.      At all times material hereto, 3443 Zen Garden GP, LLC (hereinafter “ZEN GP”),

   was a Texas Limited Liability Company with a head office in Austin, Texas, and was also the

   General Partner in ZEN.

            22.      At all times material hereto, PURPLE TREE, was a fifty percent shareholder

   of ZEN GP.

            23.      LINCOLN was at all times material hereto, a limited partner in ZEN.

            24.      At all times material hereto, Jefferson 1801 Ventures, LLC (hereinafter

   “JEFFERSON”), was a Texas Limited Liability Company with a head office located in Austin,

   Texas and was also a limited partner in ZEN.


            25.      As originally structured, the now bankrupt-debtor ZEN was owned as follows:


                     (a) LINCOLN (limited partner) seventy-four percent (74%);

                     (b) JEFFERSON (limited partner) twenty-four percent (24%); and

                     (c) ZEN GP (general partner) two percent (2%).


            26.      At all times material to this Complaint, ZEN was an entity formed by its share

   and/or interest holders for the purpose of developing a tract of land located at 3501 Ed Bluestein

   Blvd., in East Austin, Texas, commonly referred to as the former “Motorola campus”

   (hereinafter referred to as the “AUSTIN PROPERTY”).


            27.      Plaintiff Absolute Environmental Waste Management Inc. (hereinafter

   “ABSOLUTE WASTE”), is a corporation duly formed and created under the laws of the




   4811-1816-7240, v. 1
                                                     6
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 9 of 89




   Province of Alberta, Canada, with a registered head office at 2833 Broadmoor Blvd., Suite 260,

   Sherwood Park, Alberta.


            28.      Plaintiff Absolute Energy Resources Inc. (hereinafter “ABSOLUTE

   ENERGY”), is a corporation duly formed and created under the laws of the Province of

   Alberta, Canada, with a registered head office at 2833 Broadmoor Blvd., Suite 260, Sherwood

   Park, Alberta.


            29.      Plaintiff Eco-Industrial Business Park Inc. (hereinafter “ECO”), is a corporation

   duly formed and created under the laws of the Province of Alberta, Canada, with a registered

   head office at 2833 Broadmoor Blvd., Suite 260, Sherwood Park, Alberta.


            30.      Plaintiff LOT 11 GP, Ltd. (hereinafter “LOT 11 GP”), is a corporation duly

   formed and created under the laws of the Province of Alberta, Canada, with a registered head

   office located at 1250 Hayter Rd., Edmonton, Alberta.


            31.      Plaintiff Lot 11 Limited Partnership (hereinafter “LOT 11 LP”), is an Alberta

   Limited Partnership duly established, formed and/or created under the laws of the Province of

   Alberta, Canada, with a registered head office located at 1250 Hayter Rd., Edmonton, Alberta.


            32.      At all times material hereto, LOT 11 LP was comprised of LOT 11 GP as its

   general partner, and ECO as its limited partner.


            33.      Plaintiff Symmetry Asset Management, Inc. (hereinafter “SYMMETRY”), is a

   corporation duly formed and created under the laws of the Province of Alberta, Canada, with a

   registered head office located at 2833 Broadmoor Blvd., Suite 260, Sherwood Park, Alberta.




   4811-1816-7240, v. 1
                                                      7
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 10 of
                                        89



           34.      At all material times, DWFT assets included ABSOLUTE ENERGY,

  ABSOLUTE WASTE, ECO, LOT 11 GP, LOT 11 LP and/or SYMMETRY, including any

  shares, financial interests, assets and/or real property owned and/or pledged by any one or more

  of the same (hereinafter “PLEDGE ASSETS”).


           35.      At various times material hereto, WHITE acted as Trustee/Principal and/or as a

  Director and/or Officer of any one or more the aforementioned DWFT assets, or otherwise

  permissibly delegated any relevant authority to act on behalf of the same, in order to effect and

  carry out the express purposes and/or business of the DWFT.


           36.      At all times material hereto, in order to effect the purposes of the DWFT and/or

  otherwise carry on its business in the normal course, WHITE, DWFT, other DWFT Trustees

  and/or any DWFT asset, officer, director, manager, or other representative duly

  appointed/established, used PLEDGE ASSETS to Collateralize and/or otherwise caused said

  assets, or any of them, to Guarantee lender loans and/or credit facilities.


           37.      Defendant Romspen Mortgage Limited Partnership (hereinafter “ROMSPEN

  LP“) was, at all times material to this Complaint, an Ontario, Canada, limited partnership,

  formed under the laws of the Province of Ontario, with a registered head office located at 162

  Cumberland Street, Suite 300, Toronto, Ontario.


           38.      Defendant Romspen Investment Corporation (hereinafter “ROMCORP”) was, at

  all times material to this Complaint, an Ontario-Canada corporation, duly formed and

  incorporated under the laws of the Province of Ontario, with a registered head office located at

  162 Cumberland Street, Suite 300, Toronto, Ontario.




  4811-1816-7240, v. 1
                                                     8
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 11 of
                                        89



           39.      At all times material hereto, defendants ROMSPEN LP and ROMCORP acted

  by and through their agents, servants, affiliates, employees and/or other representatives,

  including, but not limited to Richard Weldon (hereinafter “WELDON”) and/or Wesley Roitman

  (hereinafter “ROITMAN”).


           40.      At all times material to this Complaint, WELDON and ROITMAN, were

  decision makers, controlling agents, servants, affiliates employees, managers, directors and/or

  other representatives of ROMSPEN LP and/or ROMPCORP.


           41.      At all times material hereto, ROMSPEN LP, ROMCORP, WELDON and/or

  ROITMAN (hereinafter “ROMSPEN”), or any of them, acted individually and/or in concert

  one or more with any of the others, and with respect to financial and other transactions involving

  the Plaintiffs and/or any other DWFT asset.


           42.      At all times material hereto ROMSPEN and/or its agents, servants, employees,

  affiliates and/or other representatives, acted in a fiduciary capacity and/or as Trustees for

  Plaintiffs WHITE, DWFT, LINCOLN and/or any other DWFT trust assets, as more fully and

  specifically set forth hereinafter.


           43.      At all times material hereto, defendant ROMSPEN acted by and through the

  actions of its managers, agents, servants, employees, affiliates and/or other representatives, and

  for whose conduct ROMSPEN remained responsible and/or liable.


           44.      At various times material to this Complaint, as more fully set forth hereinafter,

  ROMSPEN and its agents, managers, servants, employees, affiliates and/or other representatives




  4811-1816-7240, v. 1
                                                      9
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 12 of
                                        89



  colluded and/or conspired, one with any one or more of the others, against the financial and/or

  business interests of Plaintiffs and/or any other DWFT assets.


           45.      Defendant Adam Zarafshani (hereinafter “AZ”) is a citizen and resident of the

  State of Texas residing at a last known address of 4101 Cat Mountain Road, Austin, Texas.


           46.      Defendant Panache Construction and Development, Inc. (hereinafter

  “PANACHE”) is a Texas corporation with a registered office head office located at P.O. Box

  26539, Austin, Texas.


           47.      At all times material to this Complaint, Defendant AZ was a principal, Officer

  and/or Director, as well as the controlling interest and/or shareholder, decision maker, agent,

  servant, employee, manager, and/or other representative of PANACHE.


           48.      At all times material hereto, AZ and PANACHE, acted individually and/or in

  concert one with the other, with respect to transactions involving the Plaintiffs and/or any other

  DWFT asset.


           49.      At all times material hereto AZ and/or PANACHE acted by and through the

  actions of their agents, managers, servants, affiliates, employees and/or other representatives,

  including, but not limited to, Fara Ranijbaran (AZ’s wife) (hereinafter “RANIJBARAN”) and/or

  Amanda Woodham (hereinafter “WOODHAM”), for whose conduct AZ and/or PANACHE

  remained responsible and/or liable.


           50.      EIGHTFOLD DEVELOPMENTS, LLC (hereinafter “EIGHTFOLD”), was a

  Texas Limited Liability Company with a registered head office in Austin Texas located at 3443

  Ed Bluestein Blvd..




  4811-1816-7240, v. 1
                                                    10
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 13 of
                                        89



           51.      At all times material hereto, EIGHTFOLD was a company controlled and

  operated by AZ individually and/or as a DWFT trustee, through which AZ purported to act as a

  “developer” or carry on business as a “development company.”


           52.      At all times material hereto, AZ, PANACHE, RANIJBARAN, WOODHAM

  and/or EIGHTFOLD (hereinafter “AZGROUP”) and/or any of their other agents, managers,

  servants, affiliates, employees, and/or other representatives, acted in a fiduciary capacity and/or

  as Trustees for Plaintiffs and/or any other DWFT asset, as more fully and specifically set forth

  hereinafter.


           53.      At various times material to this Complaint, as more fully set forth hereinafter,

  AZGROUP and its agents, managers, servants, affiliates, employees, and/or other

  representatives colluded and/or conspired, one with any one or more of the others, against the

  financial and/or business interests of Plaintiffs and/or any other DWFT asset.


           54.      At various times material to this Complaint, as more fully set forth hereinafter,

  AZGROUP and ROMSPEN colluded and/or conspired, one with the other, against the financial

  and/or business interests of Plaintiffs and/or any other DWFT asset.




                           IV. FACTS COMMON TO ALL COUNTS

           55.      Prior to its Receivership and ultimate Petition into Chapter 11 bankruptcy, ZEN

  was engaged in developing the AUSTIN PROPERTY into a 110 acre, mixed use, state-of-the-

  art campus slotted to include offices, hotels and other retail space, built using “green technology”

  and renewable energy resources.




  4811-1816-7240, v. 1
                                                     11
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 14 of
                                        89



             56.      The AUSTIN PROPERTY was owned and/or managed by ROMSPEN prior to

  ZEN’s involvement in its development.

             57.      Plaintiff WHITE was familiar with ROMSPEN from dealings that preceded the

  Plaintiffs’ involvement in developing the AUSTIN PROPERTY.

             58.      At all times material to this Complaint, ROMSPEN held itself out to the public,

  the Plaintiffs and/or any other DWFT asset, as experienced lenders with a history of success in

  the field.

             59.      At the time of filing this Complaint, ROMSPEN’s website states:

                   a. The firm began operations in 1966 and the Romspen Mortgage Investment Fund
                      was formed in 2006. Our investments are comprised mostly of commercial and
                      industrial first mortgages on properties primarily across Canada and in parts of the
                      United States. We provide customized mortgage solutions for term, bridge and
                      construction financing in amounts up to $100 million. Our investment objectives
                      are focused on capital preservation, strong absolute cash yields to investors and
                      performance consistency. We are highly disciplined in our
                      underwriting with loan-to-value ratios of approximately 65% and do not rely on
                      leverage to achieve our returns. The current overall real estate mortgage
                      portfolio exceeds $3.3 billion. Over the past 25 years we have invested over $7.2
                      billion in over 1000 real estate mortgages and have consistently earned strong
                      absolute cash yields to investors.1

             60.      At all times material hereto, WHITE relied on ROMSPEN’s publically

  advertised expertise and experience as a disciplined and ethical investor/lender, in making

  decisions that affected himself, other Plaintiffs, and/or other DWFT assets, with respect to any

  and all loan and/or credit facility transactions with ROMSPEN.

             61.      Based upon a combination of ROMSPEN’s public and private representations,

  the Plaintiffs and/or any other DWFT asset, came to rely upon and trust ROMSPEN.

             62.      Notably, at no time material hereto, did ROMSPEN offer a loan product to the

  Plaintiffs, and/or any other DWFT asset, commensurate and/or consistent with the fundamental


  1
      See http://www.romspen.com/about-romspen/at-a-glance/default.aspx.




  4811-1816-7240, v. 1
                                                         12
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 15 of
                                        89



  public message of its website including, but not limited to, ROMSPEN’s lending strategies with

  emphasis on “capital preservation,” disciplined “65% loan to value” strictures, “strong absolute

  cash yields to investors,” and/or performance “consistency.”

                     A.       The “Canada Loans”

             63.     On September 13, 2012, and continuing thereafter, ROMSPEN offered WHITE,

  DWFT, or any DWFT asset, a loan/credit facility that permitted total advances up to

  $40,000,000.00 Canadian (hereinafter “CAD”), that would ultimately be collateralized against

  two Fort McMurray, Alberta, properties “to be purchased,” and any one or more PLEDGE

  ASSET, including LOT 11 LP., which owned real property then valued at $25,000,000.00 CAD.

             64.     The lending terms were contained in Loan Commitments dated September 13,

  2012 and June 6, 2013, the latter of which refers to, makes reference to, amends, replaces and/or

  incorporates loan terms of the former (hereinafter referred to as the “FM Commitments(s)”)2.

             65.     At all times material hereto ROMSPEN, drafted the FM Commitments.

             66.      The FM Commitments referring to the Fort McMurray property purchases, were

  executed by WHITE, DWFT and/or by duly authorized signatories on behalf of one or more

  PLEDGE ASSET.

             67.     In the operative FM Commitment(s), ROMSPEN is expressly identified and/or

  described as a party transacting in capacities as both “lender” and “trustee.”

             68.     The amount of the FM Commitment was tied to the value of “properties to be

  purchased,” as well as LOT 11 LP and/or any other PLEDGE ASSETS’ shareholdings or real

  property.




  2
      See FM Commitments dated September 13, 2012, and June 6, 2013, attached hereto collectively as Exhibit 1.




  4811-1816-7240, v. 1
                                                           13
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 16 of
                                        89



           69.      A condition of the FM Commitment mandated a reduction in the maximum loan

  amount to $20,000,000 CAD, if the properties “to be purchased” were not acquired by the

  borrower(s).

           70.      The FM Commitment contained other onerous conditions including, but not limited

  to, a daily calculated and monthly compounded 12 % interest rate, along with a 15 % participation

  fee on all generated profits.

           71.      Absent the property acquisition, this loan effectively bore a loan-to-value ratio of

  80% ($20,000,000.00 CAD advanced on $25,000,000.00 LOT11 collateral), and was therefore

  substantially over-collateralized.

           72.      Further, the participation fee required in the FM Commitment, is a de facto profit

  sharing condition normally reserved for equity investors which, absent a risk of obscuring the

  “lender-borrower” relationship, not for lenders.

           73.      Upon information and belief, ROMSPEN knew that its cumulative loan terms

  and conditions were unfair and potentially illegal, inasmuch as the 15 % “participation fee”

  could inflate borrowing costs to stratospheric proportions, and also because its borrower was

  inadequately informed of this prospect.

           74.      Contemplating usury boundaries, ROMSPEN inserted a usury rescue provision in

  section 29 of the June 6, 2013 FM Commitment, loan Commitment, to wit:

           The “interest” (as defined or determined by the statute establishing or defining illegal
           rates of interest) charged or chargeable (“interest”) under the offer of credit in this
           Commitment, on the credit advanced pursuant to this Commitment or pursuant to any
           Security (any of which Interest provision is referred to as the “interest provisions”)
           would, except for this paragraph, constitute an illegal rate of interest, then the Interest on
           the credit so advanced or secured will be reduced such that the total Interest under the
           Interest Provisions will be that amount or rate which collectively equates to that rate of
           interest that is 1% percent per annum less than the minimum rate that would be an illegal
           rate of interest, calculated according to the generally accepted actuarial practices and
           principles. Such reduction will be effected by reducing, or refunding to the Borrower,




  4811-1816-7240, v. 1
                                                       14
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 17 of
                                        89



             such of the interest charges, and expenses (or a combination thereof) constituting Interest
             payable as may be designated by the Lender in its sole discretion.

             75.      Pursuant to section 34, the same Commitment did not require ROMSPEN to

  advance draws for any investment it did not approve.

             76.      Further, under section 37, ROMSPEN was vested with a contractual right to

  syndicate the loan.

             77.      Upon information and belief and, at all times material hereto, any and all

  ROMSPEN loans and/or credit facilities provided to Plaintiffs, other DWFT assets and/or ZEN,

  were usurious and/or otherwise unlawful.

             78.      Ultimately, the Fort McMurray properties were never purchased as contemplated in

  the FM Commitment.

             79.      By way of further commitment dated July 30, 2015, however, ROMSPEN

  extended WHITE, DWFT and/or other DWFT assets, a further loan in a maximum loan amount

  of $40,000,000.00 CAD, earmarked for the alternative purchase of property referred to as the

  “Lamont properties” located in Edmonton, Alberta (hereinafter the “Lamont Commitment”).3

             80.      The Lamont Commitment, which amended and restated the FM Commitment “in

  its entirely,” was once again collateralized via properties “to be purchased” and/or any of the

  aforementioned PLEDGE ASSETS or property owned by the same.

             81.      At all times material hereto, ROMSPEN drafted the Lamont Commitment.

             82.      Under the Lamont Commitment ROMSPEN is expressly identified and/or

  described as a party transacting in capacities both as “lender” and “trustee.”

             83.      The Lamont Commitment also contained similar onerous interest rates,

  discretionary draw provisions and/or other loan fees.


  3
      See “Lamont properties” Commitment letter dated July 30, 2015, attached hereto as Exhibit 2.




  4811-1816-7240, v. 1
                                                            15
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 18 of
                                        89



           84.      In spite of WHITE having spent over $3,000,000.00 CAD prospecting the deal,

  ROMSPEN knew that the Lamont properties were unlikely to be purchased and had as its

  ultimate goal in the transaction, the collateralization of valuable PLEDGE ASSETS and/or

  properties owned by the same.

                    B.     The “MOS8 investments”

           85.      At or around the time of the “Lamont properties” Commitment, ROMSPEN

  agreed to source out alternative investment opportunities for WHITE, DWFT, and/or other

  DWFT assets.

           86.      Upon information and belief, ROMSPEN was anxious to invest unused portions

  of WHITE’s credit facilities, and put them to work for its own interests.

           87.      Some time during the summer of 2014, ROMSPEN had information that the

  AUSTIN PROPERTY had recently been purchased for the nominal price of $5,000,000.00

  USD, by a group of local investors that planned to develop the property as office and

  manufacturing space.

           88.      When the investment group realized that it could not begin leasing the space

  immediately upon taking possession, the transaction failed and the AUSTIN PROPERTY was

  remarketed and/or opened to re-auction.

           89.      At all times material hereto ROMSPEN, a lender experienced in commercial real

  estate investment, appraisal and/or construction development, was attracted to the prospect of

  lucrative profits that could flow from development of the site.

           90.      At all times material hereto, Mos8 Partners Ltd. (hereinafter MOS8 LP), was a

  Texas limited partnership.

           91.      At all times material hereto, MOS8 LP’s general partner was Mos8 GP, LLC, a

  Texas limited liability company (hereinafter “MOS8 GP”).




  4811-1816-7240, v. 1
                                                    16
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 19 of
                                        89



           92.      At all times material hereto, ROMSPEN had an economic interest in and/or

  directly or indirectly controlled MOS8 LP and MOS8 GP, by way of, but not solely limited to,

  its managing partner WELDON’s position as co-manager of MOS8 LP and MOS8 GP

  (hereinafter referred to as “MOS8”),

           93.      ROMSPEN failed to disclose and/or explain the extent of its own economic

  interest in the MOS8 transaction to WHITE and/or any one or more of the Plaintiffs.

           94.      The MOS8 limited partnership was formed for the express purpose of purchasing

  and ultimately developing the AUSTIN PROPERTY.

           95.      In or about October 24, 2014, ROMSPEN made representations to induce and

  expressly advise WHITE to invest in the MOS8 limited partnership, in which ROMSPEN had a

  direct financial interest.

           96.      At all times material hereto, ROMSPEN knew or should have known that its

  advice and representations to induce WHITE, DWFT and/or any other DWFT asset, would

  give rise to a conflict of interest.

           97.      In spite of knowing of a then arising and apparent conflict of interest,

  ROMSPEN, WELDON and/or ROITMAN communicated representations and/or advice to

  WHITE including, but not limited to:

           (a)      written representations in an email dated October 27, 2014, stating:

                    (i)     that the AUSTIN PROPERTY was “perfect” for WHITE;

                    (ii)    that it was advisable that WHITE use un-advanced loan proceeds to
                            invest in MOS8 to purchase and participate in profits generated in the
                            development of the AUSTIN PROPERTY; and

                    (iii)   that the AUSTIN PROPERTY could be acquired for $5,000,000 to
                            $7,000,000 USD; and/or

           (b)      verbal and/or other written representations that WHITE would be the benefactor
                    of a “valet” investment, wherein ROMSPEN would manage MOS8’s




  4811-1816-7240, v. 1
                                                     17
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 20 of
                                        89



                     development, leasing and sales, and WHITE, DWFT and/or other DWFT assets
                     existing and/or to be formed, would earn significant profits in a short period of
                     time, specifically, $100,000,000.00 within as little as two years.

             98.     ROMSPEN’s advice and inducements to WHITE created a conflict of interest

  between:


                     (a) ROMSPEN and WHITE, DWFT and/or any other DWFT assets, due to its
                     legal status as trustee control over, ownership and/or other financial stake in the
                     MOS8 limited partnership; and/or

                     (b) upon information and belief, between Romspen and secondary investors to
                     whom it owned fiduciary and/or other duties of care, disclosure, loyalty, and/or
                     good faith and fair dealings.

             99.     At all times material to this Complaint, WHITE, DWFT and/or any other DWFT

  assets, reasonably relied upon the expertise and experience underlying ROMSPEN’s

  representations and investment advice, pertaining to the MOS8 limited partnership investment.

             100.    Based upon ROMSPEN’s advice, WHITE, DWFT and/or any other DWFT

  asset, agreed to invest in the MOS8 limited partnership.


             101.    WHITE, DWFT and/or any DWFT asset, would not have invested in the MOS8

  limited partnership absent ROMSPEN’s advice and/or representations.


             102.    Pursuant to an August 15, 2015, commitment (hereinafter the “MOS8

  Commitment”),4 ROMSPEN perfected its plan to invest WHITE’s unused loan/credit facilities

  by investing proceeds of the same in MOS8 limited partnership interests, consistent with section

  1(d) of the MOS8 Commitment letter, stating:


             “The proceeds of the second, third and fourth tranches of the loan will be used to (a)
             assist the borrowers providing loans and/or capital contributions to the Covenantors to
             make a capital contribution to (or purchase ownership interests in) MOS8 Partners, Ltd.,

  4
      See MOS 8 Commitment Letter dated August 31, 2015, attached hereto as Exhibit 3.




  4811-1816-7240, v. 1
                                                          18
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 21 of
                                        89



             a Texas Limited Partnership . . . to assist the Texas LP in purchasing the property
             municipally known as 3501 Ed Bluestein Blvd., Austin Texas . . ..


             103.     At all times material hereto, ROMSPEN drafted the MOS8 Commitment.

             104.     Under the MOS8 Commitment, ROMSPEN is expressly identified and/or

  described as a party transacting in capacities both as “lender” and “trustee.”

             105.     ROMPSEN continues in its dual lender/trustee capacity throughout future loans

  and/or extensions of credit to WHITE, DWFT, and/or other DWFT assets.

             106.     At all times material hereto, the MOS8 loan marks the beginning of a related and

  co-dependent series of loan/credit facility transactions between ROMSPEN and Plaintiffs, all of

  which pertain to and/or are partially secured by the AUSTIN PROPERTY.


             107.     In connection with its intent to develop the AUSTIN PROPERTY, ROMSPEN

  also entered into agreements with MOS8 on or about August 31, 2015, to wit:


                      (a)     Co-development Agreement whereby ROMSPEN agreed to co-develop
                              the AUSTIN PROPERTY with MOS8;

                      (b)     Co-Management Agreement whereby ROMSPEN agreed to co-manage
                              the AUSTIN PROPERTY with MOS8;

                      (c)     Co-Leasing Agreement whereby ROMSPEN agreed to co-lease out the
                              Austin Lands with MOS8; and

                      (d)     Co-Financing and Co-Sales Agreement, whereby ROMSPEN agreed to
                              co-finance and co-sell the AUSTIN PROPERTY with MOS8.

             108.     In spite of representations by ROMSPEN that the AUSTIN PROPERTY could

  be purchased for $5,000,000.00 to $7,000,000.00, MOS8 ultimately purchased it for

  $13,000,000 USD on September 30, 2015.5



  5
      See September 30, 2015 Purchase Statement, attached hereto as Exhibit 4.




  4811-1816-7240, v. 1
                                                           19
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 22 of
                                        89



           109.     Upon information and belief, the substantial differential was related to other

  undisclosed commissions, fees and/or benefits that ROMSPEN and/or its agents, servants,

  affiliates employees and/or other representatives, negotiated and/or otherwise received in

  connection with the AUSTIN PROPERTY purchase transaction.


           110.     Upon information and belief, while ROMSPEN agreed to co-finance MOS8, it

  did not contribute its own investment to the entity and/or any aspect of the AUSTIN

  PROPERTY development while it controlled MOS8.


           111.     At all times material to this Complaint, ROMSPEN purchased the AUSTIN

  PROPERTY using WHITE’s investment and/or credit facilities.


           112.     ROMSPEN effectively lent itself WHITE’s money/credit facility proceeds,

  secured by one or more PLEDGE ASSETS, in a conflict laden transaction that obligated only

  WHITE, DWFT and/or any other DWFT asset to repay (hereinafter the “MOS8 transaction”).


           113.     Under the terms of the MOS8 transaction, ROMSPEN effectively secured for

  itself “risk free” ownership of MOS8 and its assets, including, but not limited to, the AUSTIN

  PROPERTY and, ultimately, inserted itself into a position of control over a potentially lucrative

  multi-hundred-million dollar development (hereinafter the “AUSTIN PROPERTY

  development”).


           114.     In addition to using the assets, money and/or credit facilities of WHITE, DWFT,

  and/or other DWFT assets, ROMSPEN fully controlled MOS8 and the MOS8 development of

  the AUSTIN PROPERTY, absent input, disclosure and/or other oversight by WHITE, DWFT

  and/or any other DWFT asset.




  4811-1816-7240, v. 1
                                                     20
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 23 of
                                        89



           115.     By all accounts, the MOS8 transaction was not an arm’s length transaction

  between lender and borrower and, therefore, in addition and/or alternative to already existent

  fiduciary duties imposed upon ROMSPEN as a “lender/trustee,” it also imposed upon

  ROMSPEN and/or MOS8 fiduciary and/or other legal duties of good faith and fair dealings, not

  otherwise inherent in the typical lender/borrower relationship.


           116.     Upon information and belief, ROMSPEN has engaged, and will continue to

  engage other clients, in predatory and conflict-laden “loan”/investment practices similar and/or

  identical to the MOS8 transaction, absent valid official “securities” or “investment advisor”

  license/registration and/or any other legal authority to do so.

                    i) ROMSPEN & MOS8’s mismanagement/ failure to develop


           117.     To ensure its complete control and dominance over the MOS8 development,

  ROMSPEN installed its own representative, Christopher Milam (hereinafter “MILAM”), to

  operate and/or manage the MOS8 development.


           118.     As part of his compensation, ROMSPEN also granted MILAM ownership

  interests in MOS8, without disclosing or securing the approval of WHITE, DWFT and/or any

  other DWFT asset.


           119.     At all times material hereto, MILAM failed to effectively and competently

  manage, operate and/or otherwise perform any and/or all of his duties related to the MOS8

  development, due to his lack of qualifications/skill and his reckless and/or negligent conduct.




  4811-1816-7240, v. 1
                                                   21
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 24 of
                                        89



           120.     MILAM failed to act competently and/or effectively in managing and/or

  operating the MOS8 development of, the AUSTIN PROPERTY, in one or more of the

  following specific ways, including, but not limited to:

                    (a)    failing to competently plan the development;

                    (b)    failing to competently supervise the site and/or construction
                           thereupon;

                    (c)    failing to disclose relevant knowledge of all financial matters
                           related to and/or affecting MOS8’s development of the AUSTIN
                           PROPERTY;

                    (d)    misusing MOS8 funds and assets over which he exercised control;

                    (e)    allowing the assets of MOS8, including $3,000,000.00 to
                           $7,000,000.00 USD worth of valuable scrap (industrial equipment,
                           copper wiring and/or other items including fixtures) to be
                           remove from the AUSTIN PROPERTY by unauthorized and/or
                           unknown third parties or, alternatively, absent disclosure to MOS8
                           and/or in collusion with ROMSPEN, unlawfully removing or
                           causing the removal of the same in an effort to sell, convert, and/or
                           otherwise benefit himself and/or ROMSPEN economically from
                           such unlawful activity;

                    (f)    attempting to convert the AUSTIN PROPERTY into a Data
                           Center at a time when the same was neither commercially
                           reasonable and/or financially viable in light of obvious lack of
                           demand for such a Center;

                    (g)    failing to properly invoice and/or otherwise ensure regular book-
                           keeping and/or accurate accounting for the MOS8 development;

                    (h)    failing to complete a contemplated $1,000,000.00 USD land sale to
                           Austin Transport Authority as directed and/or agreed;

                    (i)    failing to lease buildings, parking and/or other spaces that would
                           generate substantial revenue; and/or

                    (j)    failing to effect sub-division of non-core areas/parcels that would
                           generate substantial revenue.




  4811-1816-7240, v. 1
                                                    22
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 25 of
                                        89



           121.     At all times material hereto, MILAM did not deal fairly and/or failed to act

  honestly and in good faith with a view to the best interests of MOS8, WHITE, DWFT and/or

  any other DWFT asset, in executing his role as manager in the MOS8 development of the

  AUSTIN PROPERTY.

           122.     At all times material hereto, MILAM purposely, recklessly and/or negligently

  failed to comply with MOS8’s Articles of Incorporation, Partnership and/or operative

  Shareholder agreements.

           123.     At all times material hereto, MILAM failed to exercise the required care,

  diligence and/or skill of a reasonable ordinary prudent person, manager and/or Corporate

  Officer/Director, in the same and/or similar circumstances.

           124.     At all times material hereto, ROMSPEN, WELDON and/or ROITMAN, knew

  or should have known of MILAM’s incompetence, lack of skill and/or care, negligence and/or

  recklessness in relation to his role as manager of the MOS8 development.

           125.     In spite of ROMSPEN knowing of MILAM’s ineffective, negligent, reckless,

  callous, incompetent and/or illegal conduct in relation to the MOS8 development, ROMSPEN

  intentionally, recklessly, negligently and/or carelessly, allowed MILAM to continue operating

  the MOS8 development, to the direct, proximate and ultimate detriment of MOS8, WHITE,

  DWFT, and/or DWFT assets.

           126.     As a consequence of ROMSPEN’s installation of MILAM as the manager of the

  MOS8 development, and its subsequent failure to terminate and/or otherwise correct the

  mistakes and/or remedy the effects of MILAM’s mismanagement, MOS8 was unable to

  successfully develop the AUSTIN PROPERTY and its failure precipitated a $35,000,000.00

  default on the ROMSPEN/MOS8 loan.




  4811-1816-7240, v. 1
                                                    23
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 26 of
                                        89



            127.    At all times material to the Complaint and in derogation of existing duties,

  ROMSPEN unreasonably, careless and/or recklessly hired MILAM.

            128.    At all times material to the Complaint and in derogation of existing duties,

  ROMSPEN unreasonably, careless and/or recklessly failed to properly supervise MILAM.

            129.    At all times material to the Complaint and in derogation of existing duties,

  ROMSPEN unreasonably, careless and/or recklessly retained and/or failed to terminate

  MILAM.

            130.    When WHITE learned of ROMSPEN’s and MILAM’s intentional, reckless

  and/or negligent mismanagement of the AUSTIN PROPERTY, and the fact that MOS8 was

  defaulting on the ROMSPEN-MOS8 loan, he demanded that the WHITE, DWFT and/or any

  other DWFT investment, be returned immediately.

            131.    In refusing to return the MOS8 investment, ROMSPEN threatened to foreclose

  due to default, placing economic stress and/or duress upon DW, DWFT and/or other DWFT

  assets.

            132.    At all times material hereto, the economic stress of the MOS8 limited partnership

  failure, along with ROMSPEN’s threat to foreclose, prompted DW, DWFT and/or DWFT

  assets to consider and/or take drastic steps to salvage their investment with ROMSPEN and

  guard against ROMSPEN’s foreclosure upon valuable assets including, but not limited to,

  already collateralized valuable real estate located in Canada.

                           ii) The MOS8 “default solution”

            133.    At the time of MOS8’s purported default, ROMSPEN claimed that it had

  advanced MOS8 approximately $35,000,000.00 CAD, however, MOS8’s development of the

  AUSTIN PROPERTY clearly evidenced no material construction progress.




  4811-1816-7240, v. 1
                                                     24
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 27 of
                                        89



             134.     Further, the AUSTIN PROPERTY had been denigrated, damaged and/or

  diminished in value by ROMSPEN’s mismanagement, to the extent of approximately

  $30,000,000.00 USD.

             135.     Compounding these losses, WHITE, DWFT, DWFT assets and/or any of them,

  also contributed and expended other sums of money and/or incurred other costs on behalf of

  MOS8, in the course of the MOS8 development attempt.

             136.     ROMSPEN offered to “solve” the MOS8 failure, by granting further loans and/or

  credit facilities to WHITE, DWFT and/or DWFT assets, existing and/or to be formed, for the

  purpose of purchasing the AUSTIN PROPERTY from MOS8 and undertaking/continuing the

  development of the AUSTIN PROPERTY.

                      C.      First Zen “construction” loan: Zen as developer

             137.     ROMSPEN’s issued a commitment signed in July 2016,6 amending former loan

  and/or credit facility agreements/commitments and resulting in a then current $40,000,000.00

  CAD “first mortgage credit facility” (hereinafter the “FIRST ZEN LOAN”).

             138.     The purported purpose of the FIRST ZEN LOAN was to complete the

  acquisition of the AUSTIN PROPERTY and, thereafter, undertake its development.

             139.     The MOS8 default solution, however, was neither motivated by, nor transacted in

  good faith, and the terms of the FIRST ZEN LOAN foiled ROMSPEN’s self-interested and

  predatory plan to continue converting, looting and/or fleecing WHITE, DWFT and/or DWFT

  assets, in order to precipitate default and misappropriate the AUSTIN PROPERTY and/or any

  other PLEDGED ASSETS securing the loan.

             140.     Under the FIRST ZEN LOAN, WHITE, DWFT, DWFT assets and/or ZEN,

  was required to purchase the AUSTIN PROPERTY for $35,000,000.00 USD, a purchase price
  6
      See unsigned “form” of July 2016 agreement, attached hereto as Exhibit 5.




  4811-1816-7240, v. 1
                                                            25
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 28 of
                                        89



  almost triple MOS8’s original purchase price even though it was damaged, denigrated and/or

  diminished in value in the approximate amount of $30,000,000 USD as a direct and proximate

  result of ROMSPEN’s aforementioned mismanagement.

           141.     This FIRST ZEN LOAN also required WHITE, DWFT, DWFT assets and/or

  ZEN to assume MOS8’s debt.

           142.     Ultimately, the FIRST ZEN LOAN obligated ZEN to a first mortgage credit

  facility, designed by ROMSPEN to transform MOS8’s “bad debt” into a performing loan in

  “good standing,” and to ensure the same was reflected upon ROMSPEN’s books as such

  (hereinafter the “first churn”).

           143.     The first churn permitted ROMSPEN to re-collateralize and generate new

  origination and/or other fees associated with a performing loan, with the added ROMSPEN

  benefit of creating a “new investor” optic,” oblivious to and/or obscured from a de facto and

  paradigm example of ROMSPEN’s poor investment strategy and/or management performance,

  littered with self-dealing and conflicts of interest.

           144.     Upon satisfying the MOS8 loan obligation, DW, DWFT, DWFT assets and/or

  ZEN, still faced hurdles associated with the ownership and development of the AUSTIN

  PROPERTY including, but not limited to, the need for capital precipitated by ROMSPEN’s (1)

  mismanagement of MOS8, (2) the MOS8 loan terms and/or (3) the prospect of transforming the

  damaged AUSTIN PROPERTY site into a viable development.

           145.     Upon information and belief, WHITE, DWFT and/o other DWFT assets

  invested, contributed, and/or otherwise lost millions a (outside of loan proceeds) developing the

  AUSTIN PROPERTY.




  4811-1816-7240, v. 1
                                                     26
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 29 of
                                        89



           146.     At all times material to this Complaint, between protecting investments and

  expected profits, WHITE, DWFT and/or other DWFT assets, all had enormous stakes in the

  property’s successful development.

           147.     From in or about November, 2016, WHITE, DWFT, other DWFT assets and/or

  ZEN, continued to develop and invest in the AUSTIN PROPERTY, commensurate with its

  vision of ensuring an environmentally sustainable plan that incorporated “green technology” and

  renewable energy resources.

                           i) AZ: Contractor, Trustees, Officers/Directors

           148.     During the continued efforts to develop the AUSTIN PROPERTY, WHITE

  frequented the site to ensure progress and contribute to all aspect of the project.

           149.     On one such visit in 2017, WHITE was approached by AZ, who introduced

  himself as a “scrap buyer” interested in purchasing some furniture that was being sold as scrap.

           150.     AZ made it known to WHITE that he was also a local builder/real estate

  developer who owned PANACHE, and was very familiar with the local construction and

  development scene.

           151.     Thereafter, AZ made attempts to befriend and gain WHITE’s trust, all the while

  attempting to infiltrate WHITE’s business by falsely persuading him of AZGROUP’s utility

  and indispensible value to the AUSTIN PROPERTY development.

           152.     AZGROUP sought to induce and/or gain WHITE’s trust by implying and/or

  making false and/or misleading representations including, but not limited to:

                    (a)    AZ possessed requisite skills to be a DWFT Trustee;

                    (b)    AZ possessed sufficient skill and resources to serve as an officer or
                           director of one or more of the DWFT assets;

                    (c)    AZGROUP possessed the skill and resources necessary to ensure timely




  4811-1816-7240, v. 1
                                                    27
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 30 of
                                        89



                              development of the AUSTIN PROPERTY within proposed budgetary
                              guidelines;

                     (d)      AZGROUP had the, skill and resources to ensure timely development of
                              the AUSTIN PROPERTY within proposed budgetary guidelines;

                     (e)      AZGROUP could use its experience and influence in the local
                              construction industry to secure more favorable loan terms from
                              ROMSPEN; and/or

                     (f)      AZGROUP could ensure adequate and timely construction draws from
                              ROMSPEN in relation to the ROMSPEN-ZEN loan if AZ owned
                              interests in ZEN.

             153.    On a personal level, WHITE became fond of AZ and, over a short period of time,

  began to trust AZ’s opinion and input as the same pertained to matters of business; in particular,

  matters related to the AUSTIN PROPERTY development.

             154.    WHITE reasonably relied upon AZGROUP’s representations in light of its

  purported business acumen and status as experienced builders and/or real estate developers with

  deep-rooted experience in the local construction industry.

             155.    Based upon the aforementioned false and/or misleading representations, WHITE

  installed AZGROUP as ZEN’s General Contractor in the AUSTIN PROPERTY development.

             156.    At or around the same time and based upon the aforementioned false and/or

  misleading representations, WHITE also appointed AZ as a Trustee of the DWFT7.

             157.    At or around the same time, WHITE arranged for AZ to become a Director

  and/or Officer of various DWFT assets including, but not limited to one or more of the

  PLEDGE ASSETS and, ultimately, a partner in ZEN by way of shareholdings in

  JEFFERSON.

             158.    WHITE would not have selected AZ for any of the aforementioned positions of

  trust, absent reliance upon AZ’s false and/or misleading claims to expertise in construction,
  7
      See Acceptance of Trustee Appointment by Adam AZ, attached hereto as Exhibit 6.




  4811-1816-7240, v. 1
                                                          28
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 31 of
                                        89



  development and/or business.

             159.    The aforementioned positions as Trustee and/or Corporate Director/Officer

  imparted substantial trust and control to AZGROUP over the affairs and business of WHITE,

  DWFT, DWFT assets and/or ZEN, including, but not limited to, control over important aspects

  of the AUSTIN PROPERTY development.

             160.    At all times material hereto, WHITE, DWFT, other DWFT assets and/or ZEN

  specifically relied upon AZGROUP to manage business affairs and ensure development of the

  AUSTIN PROPERTY in a timely manner, within assigned/imposed budgetary parameters.

             161.    Upon information and belief, SYMMETRY’s financial records show that

  WHITE, DWFT, other DWFT assets and/or ZEN, spent approximately $8,000,000.00 USD

  continuing the AUSTIN PROJECT development that it inherited in shambles from MOS8.

             162.    As ZEN made significant advancements in project development, ROMSPEN

  continued to insert itself into ZEN’s business with a predatory eye toward precipitating default

  and acquiring the AUSTIN PROPERTY.

                     D.       The second Zen “construction loan” for $125,000.00

             163.    At all times material hereto, based upon its historical knowledge and familiarity

  with the AUSTIN PROPERTY development and, upon consideration of the property’s potential

  value, ROMSPEN continued its predatory “loan to own” scheme by offering ZEN further

  loan/credit facilities, in a transaction that bore suspicious restrictions upon loan negotiations.

             164.    Specifically, on February 1, 2018, ROMSPEN committed to lend and/or extend

  additional credit facilities to ZEN in the form of a maximum $125,000,000.00 USD

  “construction loan” (hereinafter the “SECOND ZEN COMMITMENT”). 8



  8
      See Second Zen Commitment Letter dated February 1, 2018, attached hereto as Exhibit 7.




  4811-1816-7240, v. 1
                                                           29
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 32 of
                                        89



           165.     With a view toward completing the loan, the parties outlined the main terms upon

  which they intended to agree and proceeded to negotiate the loan contract.

           166.     ROMSPEN suspiciously excluded WHITE from all loan negotiations, however,

  and demanded that AZ undertake negotiations on ZEN’s behalf.

           167.     Upon information and belief, ROMSPEN insisted upon dealing with AZ because,

  by the time of negotiations, AZ was colluding with ROMSPEN to further the lender’s predatory

  “loan to own” scheme.

           168.     ROMSPEN also suspiciously insisted that greater interests in ZEN’s ownership

  structure be assigned/transferred to AZ and/or JEFFERSON (controlled by AZ).

           169.     Specifically, ROMSPEN demanded that JEFFERSON become the controlling

  interest holder in ZEN LP, and that a 50% interest in ZEN GP also be assigned to AZ,

  effectively making AZ a 100% interest holder in ZEN GP.

           170.     Upon information and belief, the ownership modification constituted undisclosed,

  improper and/or unlawful quid pro quo for AZ’s continued collusion with ROMSPEN.

           171.     Upon information and belief, AZ was earmarked by ROMSPEN as a “puppet

  insider” that could do ROMSPEN’s bidding in furtherance of its overall predatory plan, and the

  ownership modification was part of ROMSPEN’s attempt to increase AZ’s power and ensure

  that his position in ongoing transactions was not jeopardized by any other interest holder’s ability

  to remove him from the same.

                           i) The April 27, 2018 “Loan Agreement”-missing signatures




  4811-1816-7240, v. 1
                                                   30
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 33 of
                                        89



             172.     ROMSPEN contends that on or about April 27, 2018, the parties reached

  agreement and executed a Construction “Loan Agreement”9 and a Promissory Note10 pertaining

  to the $125,000,000.00 construction loan (hereinafter “SECOND ZEN LOAN”).

             173.     While ROMSPEN claims that the operative loan agreement was executed by

  WHITE, on behalf of himself and/or any other DWFT asset, including ZEN, the same is

  contested by Plaintiffs.

             174.     ROMSPEN initially submitted an unsigned loan agreement to this Bankruptcy

  Court in support of its claims, however, the same did not contain ROMSPEN’s signature and,

  only upon WHITE raising the issue before this Court and in foreclosure proceedings in

  Edmonton, Canada (hereinafter the “Edmonton proceedings”), did ROMSPEN resubmit a

  revised version that it purported to be the operative loan agreement evidencing both parties’

  signatures.

             175.     A close examination of the loan agreement signature pages re-submitted by

  ROMSPEN in support of its creditor claims, however, reveals that there is no footer linking the

  ROMSPEN signature page with either the purported/operative loan document (version 12) or

  WHITE’s signature page (version 8).

             176.     Upon information and belief, and based upon Plaintiffs’ review of related

  documents, ROMSPEN inserted and/or “slip sheeted” signature pages from previous and/or

  different loan documents into what it purports in these Bankruptcy proceedings, to be the

  operative loan document (properly executed by both parties) upon which it asserts both the

  validity and amount of its claim against ZEN’s estate.




  9
      See copy of Loan Agreement dated April 27, 2018, attached hereto as Exhibit 8.
  10
       See $125,000,000.00 Promissory Note attached hereto as Exhibit 9.




  4811-1816-7240, v. 1
                                                            31
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 34 of
                                        89



           177.      Upon further information and belief, ROMSPEN has “slip sheeted” signature

  pages in the aforementioned manner, in order to legitimate the loan document and its

  corresponding terms and conditions in order to use the same as a valid legal basis to assert its

  current claims in these Bankruptcy Court proceedings.

           178.     At all times material hereto, the Plaintiffs and/or ZEN, relied and based its

  performance obligations solely upon loan terms contained in duly executed and valid loan

  agreements.

                           ii) Unreasonable loan terms

           179.     The terms of the SECOND ZEN LOAN agreement, once again afforded

  ROMSPEN the benefit of transforming an earlier loan, into a new performing loan in “good

  standing,” that could be reflected as such on ROMSPEN’s books and records (hereinafter the

  “second churn”).

           180.     Like the MOS8 loan’s first churn, the second churn also came complete with the

  repeated advantage of charging exorbitant loan fees and interest upon a previous loan’s

  exorbitant fees and interest.

           181.     At all times material hereto, LOAN unfairly compounded ZEN’s debt, in the

  course of a conflict-laden transaction engineered to maximize ROMSPEN’s goal of

  precipitating ZEN’s default.

           182.     At all times material hereto, ROMSPEN intended to continue its predatory

  scheme by increasing ZEN’s debt obligation in collusion with AZ, at a time when ZEN was

  making and/or poised to make significant inroads and progress in developing the AUSTIN

  PROPERTY.




  4811-1816-7240, v. 1
                                                     32
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 35 of
                                        89



           183.     The SECOND ZEN LOAN required WHITE, ZEN LP, ECO, LOT 11,

  EIGHTFOLD, ABSOLUTE ENERGY, ABSOLUTE WASTE, SYMMETRY and/or other

  DWFT assets, all to execute personal and/or corporate guarantees.

           184.     Additionally, ROMSPEN required mortgages and general assignments of leases

  and rents be registered against DWFT assets, legally described as, “Mortgages and General

  Assignments of Leases and Rent against . . . Lot 12 (which was described as "the remainder of

  SW ¼ 17-53-23-4")” and two parcels of land as Lot 4 and Lot 11.”

           185.     Further, the SECOND ZEN LOAN was grossly over-collateralized between both

  the AUSTIN PROPERTY and other PLEDGE ASSETS including real property in Alberta,

  Canada, worth in excess of $260,000,000 USD.

           186.          Upon information and belief, the loan terms evidence ROMSPEN’s predatory

  intent to circumvent otherwise protective foreclosure mechanisms and/or related legal

  proceedings, in an effort to simply slide into ownership upon fulfillment of its plan to precipitate

  ZEN’s default.

                    iii) unreasonable draw and “inspector” delays

           187.     While ROMSPEN was obligated to disburse the proceeds of the SECOND ZEN

  LOAN in good faith, pursuant to certain agreed upon loan terms, ROMSPEN intentionally,

  recklessly and/or negligently delayed and/or failed to make requisite disbursements, in an effort

  to stagnate and/or otherwise thwart ZEN’s development of the AUSTIN PROPERTY.

           188.     At all times material hereto, ROMSPEN’s actions were incommensurate with

  standard industry lending practices geared toward ensuring performing loans.




  4811-1816-7240, v. 1
                                                     33
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 36 of
                                        89



           189.     At all times material hereto, ROMSPEN’s conditions clearly exhibited its

  intention to precipitate ZEN’s default and engineer a hostile takeover of the AUSTIN

  PROPERTY.

           190.     In spite of its purported status as ZEN’s lender, ROMSPEN invoked

  discretionary and/or other onerous loan terms to influence, control and/or insert itself into ZEN’s

  business, in a manner wholly inconsistent with the typical lender/borrower relationship.

           191.     At all times material to the Complaint, ROMSPEN specifically embarked upon a

  pattern of imposing unreasonable conditions upon draw requests.

           192.     One instance of the aforesaid pattern involved a refusal to fund a draw request

  unless and/or until AZGROUP consented to ROMSPEN’s inspection of PANACHE’s books

  and records.

           193.     At all times material hereto, however, PANACHE was not the “borrower” and

  was not otherwise legally obligated to share its books and records with ROMSPEN.

           194.      Upon information and belief, ROMSPEN sought access to information

  contained within PANACHE’s books and records, in furtherance of its predatory efforts to

  position itself for recommencing the AUSTIN PROPERTY development upon precipitating

  ZEN’s default.

           195.     Further, ROMSPEN threatened to refuse draws required under the SECOND

  ZEN LOAN unless ZEN permitted a ROMSPEN employee and a third-party general

  contractor, BTY U.S., LLC, upon the AUSTIN PROPERTY in the capacity of “inspectors,”

  “progress monitors” and/or “quantity surveyors” (hereinafter “BTY”).




  4811-1816-7240, v. 1
                                                    34
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 37 of
                                        89



             196.     Relatedly, ROMSPEN also threatened to refuse draw requests if ZEN did not

  agree to pay BTY, whose virtually full-time onsite services amounted to approximately

  $25,000.00 USD per month, further taxing ZEN’s construction budget.

             197.     During its tenure, BTY inserted itself into every aspect of the development, far in

  excess of what might otherwise be expected from a lender’s representative or inspector.

             198.     Even while BTY was being paid to supervise ZEN’s construction progress,

  ROMSPEN regularly communicated and negotiated with ZEN’s sub-contractors absent

  permission, approval and/or other instruction from ZEN.

             199.     At all times material hereto, delays in ZEN’s progress were occasioned by the

  simultaneous presence and friction inherent in having two general contractors and/or

  “inspectors” (AZGROUP and BTY) directly involved in the AUSTIN PROPERTY decision-

  making process.

             200.     Ultimately, ROMSPEN’s ever present and costly “quantity surveyor” was unable

  to report irregularities and/or failures in construction attributable to ZEN.

             201.     The lack of reported irregularities prompted ROMSPEN to direct BTY to change

  its standard protocols and focus its attention upon “accounts payable” and “draw

  conformance.”11

             202.     Further, in spite of its purported neutrality, BTY had worked for ROMSPEN in

  the past, and its reporting failed to document late draws, sub-contractors not being paid and/or

  suppliers failing to deliver to the site, all of which was evident and thwarted ZEN’s

  development/construction progress.

             203.     At all times material hereto, and upon information and belief, BTY was not a

  “neutral” quality surveyor, and the company was hired primarily for the purpose of gathering
  11
       See BTY report of May 21, 2019, attached hereto as Exhibit 10.




  4811-1816-7240, v. 1
                                                            35
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 38 of
                                        89



  “recognizance” that would serve ROMSPEN’s planned efforts to position itself for

  recommencing development, upon precipitating ZEN’s default.

           204.     In further attempts to engineer its predatory takeover, ROMSPEN also interfered

  with ZEN’s marketing and prospective lease negotiations.

           205.     On at least one occasion WELDON travelled to the AUSTIN PROPERTY to

  personally meet with and influence the marketing efforts of ZEN’s brokers.

           206.     On another occasion, ROMSPEN engaged in direct and/or unauthorized

  negotiations with a potential tenant, holding itself out as having authority to contract with

  potential lessors.

           207.     At all times material hereto, ROMSPEN purported to have unilateral discretion

  over whether and, in what amount, ZEN’s draw requests would be honored.

           208.     Further, ROMSPEN demanded and wrongly assessed excessive and/or

  unreasonable fees in connection with ZEN’s draw requests.

           209.     Contrary to the loan commitment and, against the backdrop of ZEN’s protests,

  ROMSPEN insisted upon paying its own fees out of ZEN’s draw disbursements, placing further

  economic stress upon ZEN’s construction budget.

           210.     Out of a total of sixteen (16) draw requests by ZEN, eleven (11) of the same were

  funded late.

           211.     On at least three occasions from the time ZEN acquired the property from

  ROMSPEN/MOS8, construction at the AUSTIN PROPERTY ceased as a direct and/or

  proximate result of ROMSPEN’s intentional, reckless and/or grossly negligent refusal to fund

  draws requested by ZEN.




  4811-1816-7240, v. 1
                                                    36
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 39 of
                                        89



           212.     ROMSPEN’s predatory funding delays required WHITE and/or any other

  DWFT asset, to expend over $1,000,000.00 USD, solely to avoid supply stoppages and/or

  subcontractor mutiny.

           213.     The cumulative effect of ROMSPEN’s refusals occasioned scheduling delays

  that substantially impacted ZEN’s ability to deal effectively with sub-contractors, suppliers

  and/or prospective tenants, all of which undermined and placed enormous economic pressure

  upon ZEN, WHITE, DWFT and/or other DWFT assets.

           214.     In spite of the debilitating economic consequences suffered by ZEN, as a result of

  ROMSPEN’s pattern of draw refusal, ROMSPEN continued to earn substantial, interest and/or

  other fees during periods of delay.

                           iv) ROMSPEN thwarts ZEN’s PACE loan financing efforts

           215.     At all times material to this Complaint, the State of Texas had an attractive

  sustainable energy program authorizing loans for commercial, industrial, and multi-family

  residential properties, pursuant to Chapter 399 of the Texas Local Government Code, otherwise

  known as the Property Assessed Clean Energy Act (“PACE”).

           216.     Texas PACE loans provided low-cost/long-term funding, for development

  projects into which aspects of energy efficiency and renewability were incorporated.

           217.     Texas PACE loans bore significant economic benefits over traditional financing,

  including, but not limited to, repayment via property tax bill assessments.

           218.     PACE loan eligibility depended upon the “mortgagee’s” written consent, which

  was routinely granted by lenders based upon their own economic reasons including, but not

  limited to, strengthened borrower repayment ability and lower loan-to-value ratios.




  4811-1816-7240, v. 1
                                                     37
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 40 of
                                        89



            219.     At all times material to this Complaint, ZEN intended to utilize PACE loan

  proceeds to offset the costs of developing the AUSTIN PROPERTY.

            220.    Commensurate with its express plan to develop the AUSTIN PROPERTY using

  green technology and renewable resources, ZEN pursued a PACE lender to avail itself of this

  attractive financing option and, in October of 2018, ZEN secured a Texas lender PACE loan

  commitment for $25,000,000 in connection with the development of the AUSTIN PROPERTY.

            221.    PACE financing terms required ROMSPEN’s consent as Mortgagee, in light of

  the fact that the financing would effectively encumber the AUSTIN PROPERTY.

            222.    At all times material hereto, ROMSPEN knew that PACE loan financing was a

  critical assumption underlying ZEN’s ability to cover the costs of environmental and energy

  saving components of the AUSTIN PROPERTY development, and it likewise knew that such

  components were significantly attractive to potential lessors.

            223.    Pursuant to Section 5.13(c)(iii) of the ZEN CONSTRUCTION LOAN

  agreement, ROMSPEN expressly agreed that a PACE loan would be considered a “Permitted

  Encumbrance” upon title.

            224.    At all times material to this Complaint, ZEN repeatedly sought ROMSPEN’s

  consent in connection with its PACE commitment, however, ROMSPEN repeatedly refused to

  oblige.

            225.    Instead of acting in good faith, ROMSPEN attached other onerous conditions to

  its consent including, but not limited to, ZEN’s execution of a general release for any and all of

  ROMSPEN’s prior acts and/or omissions.

            226.    ROMSPEN’s attempt to condition its PACE loan consent upon said release,

  bespeaks its own then existing concern over liability to ZEN for breach of contract and/or




  4811-1816-7240, v. 1
                                                    38
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 41 of
                                        89



  fiduciary duties, rooted in ROMSPEN’s predatory conduct in relation to procuring and

  administering the ZEN CONSTRUCTION LOAN.

           227.     ROMSPEN also threatened to withhold its PACE loan consent unless and/or

  until ZEN switched to a lender with whom ROMSPEN had a pre-existing relationship

           228.     Notwithstanding ZEN’s ultimately coerced decision to change lenders,

  ROMSPEN continued to withhold and/or refuse its consent for ZEN’s PACE loan financing.

           229.     ROMSPEN’s persistent refusal to consent was intentional, reckless and/or

  negligent, and designed to jeopardize and thwart ZEN’s successful completion of the AUSTIN

  PROPERTY development.

           230.     ROMSPEN’s refusal to consent also forced WHITE, ZEN and/or other DWFT

  assets, to expend over $1,000,000.00 USD in “green” related construction costs, contrary to

  ZEN’s ab initio intention to cover the same out of anticipated PACE loan proceeds.

           231.     At all times material hereto, ROMSPEN was obligated to act in good faith with

  respect to the PACE loan request, however, it denied ZEN the opportunity as part of its

  predatory plan to pressure ZEN’s budget and precipitate default.

                           v) reduction in loan proceeds and pretextual default allegations

           232.     ZEN continued to develop the AUSTIN PROPERTY, in spite of ROMSPEN’s

  refusal to consent to the PACE loan.

           233.     In furtherance of its predatory scheme, ROMSPEN also hid and/or failed to

  account for money that should have flowed into ZEN’s construction coiffures, including a

  condemnation award precipitated by a State of Texas condemnation plan involving a nearby

  correctional facility.




  4811-1816-7240, v. 1
                                                   39
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 42 of
                                        89



           234.     As part of the aforementioned plan, the State condemned several acres of land

  along U.S. 183 that would inevitably have caused a detrimental effect and/or other damages to

  the AUSTIN PROPERTY development.

           235.     After substantial and costly efforts advancing legal claims against the State, all of

  which were paid for by ZEN, a settlement that greatly enhanced the value of the AUSTIN

  PROPERTY was reached.

           236.     As part of the settlement, a $597,199.50 USD compensation award that should

  have inured to ZEN’s benefit, was paid over to ROMSPEN’s MOS8 entity.

           237.     In spite of ZEN’s repeated inquiries and/or other demands, ROMSPEN failed

  and/or refused to provide ZEN with a proper accounting or otherwise explain how the award was

  distributed and/or applied.

           238.     Further, ZEN fought a costly and extended battle with a local zoning/planning

  board to increase a “height restriction,” applicable to the AUSTIN PROPERTY.

           239.     The zoning accommodations secured in connection with ZEN’s efforts greatly

  increased the value of the AUSTIN PROPERTY.

           240.     Thereafter, on or about August 16, 2019, ROMSPEN communicated written

  confirmation of its intent to limit disbursements under ZEN’s promissory note to

  $102,000,000.00 USD instead of the maximum of $125,000,000.00 USD, agreed upon between

  the parties.

           241.     ROMSPEN admitted as part of its explanation, that “promissory note”

  overstatement was “routine practice” in this and other loans.

           242.     ROMSPEN’s spawned a flurry of spurious and pre-textual default allegations

  against ZEN in an effort to take over the AUSTIN PROPERTY development.




  4811-1816-7240, v. 1
                                                     40
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 43 of
                                        89



           243.     ROMSPEN falsely and wrongfully claimed that ZEN misapplied loan proceeds

  and, therefore, ZEN was in default of the ZEN CONSTRUCTION LOAN agreement.

           244.     At all material times, however, ROMSEN knew that each and every draw request

  was fully approved by its own inspectors.

           245.     ROMSPEN falsely and wrongly claimed that ZEN failed to replenish interest

  reserves and, therefore, ZEN was in default of the ZEN CONSTRUCTION LOAN agreement.

           246.     At no time material hereto, however, did the ZEN COMMITMENT, ZEN-

  NOTE and/or the ZEN CONSTRUCTION LOAN agreement, confer any such obligation upon

  ZEN.

           247.     ROMSPEN falsely and wrongly claimed that ZEN was in default due to a

  “Balancing Event” (unfunded advances less than required to complete identified construction

  work).

           248.      ROMSPEN however, failed to honor contract provisions requiring it to send

  notice of any “Balancing Event” and, therefore, ZEN was not in default based thereupon.

           249.     At all times material hereto, ROMSPEN manufactured the aforementioned

  claims in order to justify its default assertions against ZEN.

           250.     On October 7, 2019, in connection with its false assertions of ZEN’s default

  under the ZEN CONSTRUCTION LOAN agreement, ROMSPEN attempted to coerce ZEN

  into signing a “Forbearance Agreement.”

           251.     Under the terms of the Forbearance Agreement, ROMSPEN agreed to hold off

  enforcement and/or exercise of mythical rights arising out of illusory acts of default which it

  falsely ascribed to ZEN, in exchange for concessions including, but not limited to (a) ZEN’s

  admission of actual default, (b) ZEN’s acknowledgment that ROMSPEN was no longer




  4811-1816-7240, v. 1
                                                    41
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 44 of
                                        89



  obligated under the ZEN CONSTRUCTION LOAN agreement and (3) ZEN’s surrender of a

  deed in lieu of foreclosure.

             252.    Thereafter, ZEN issued a Notice of Default to ROMSPEN, on October 9, 201912

             253.    In response to ZEN’s Notice of Default, ROMSPEN communicated its own

  Notice of Default to ZEN on October 11, 2019.13

                     E.       Post-default duress-ROMSPENS’s forbearance and release requests

             254.    At all times material hereto, ROMSPEN continued to coerce and/or otherwise

  pressure WHITE and/or ZEN into signing a Forbearance and/or other settlement agreement.

             255.    On October 17, 2019, after rejecting ROMSPEN’s coercive settlement attempts,

  WHITE, EIGHTFOLD, and ZEN, via AZ, initiated Texas State Court litigation against

  ROMSPEN in Travis County, Texas (Cause No. D-1-GN-19-007269), sounding in Fraud,

  Breach of Duty of Good Faith and Fair Dealing, Breach of Fiduciary Duty, Negligent

  Misrepresentation, Breach of Contract and Declaratory Relief under the Texas Uniform

  Declaratory Judgment Act.

             256.    In an email dated October 19, 2019, AZ confirms ROMSPEN’s plan to effect a

  hostile takeover of the AUSTIN PROPERTY, and the fact that he was enlisted to facilitate the

  same, stating:

                     In terms of what you asked me to do a short while ago, I cannot not tell you
                     what they communicate to me. Even though it is a moving target, and what

                     they are doing goes beyond fraud, it is financial terrorism. What they are
                     proposing orally is that basically that:

                              1- They will take over the property.
                              2- They would leave me in and
                              3- If I stabilize the property, get it to completion, they will not take

  12
       See Notice of Default to ROMSPEN dated October 9, attached hereto as Exhibit11.
  13
       See Notice of Default to ZEN dated October11, attached hereto as Exhibit 12.




  4811-1816-7240, v. 1
                                                          42
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 45 of
                                        89



                              any action against the assets in Edmonton.

                     That is the summary of the BS that they are proposing. That means the $3.2
                     million I put in evaporates and pretty much all the other money I have put
                     in will evaporate and handed to them on a silver platter.14

             257.    Upon information and belief, AZ’s email is written with the intention of

  generating an “AZ-WHITE” alignment optic and while, at all times material hereto, AZ

  continued to work in collusion with ROMSPEN to facilitate its takeover plan, AZ also intended

  to water test the prospect of “switching sides,” to the extent the same was viable and otherwise in

  AZGROUP’s optimal and/or best financial interests.

             258.    AZ’s modus operandi is borne out in statements in the same email, to wit:

             I understand that you are rightfully angry and that this is driving a stake through both of
             our hearts. You and I cannot talk about the fraud that they have committed. That is a
             known fact. Can we get them? Yes, we can. It will take money to do it and my first stress
             right now is money. If you can raise some cash this week, I will unleash everything at my
             disposal towards them . . . . I will go to the end of the world with you. But . . . we do not
             have any soldiers nor any ammunition.

             259.    Upon information and belief, at all times material hereto, AZGROUP had

  embezzled and/or unlawfully funneled funds greatly exceeding AZ’s claimed “$3.2 million”

  from sources including, but not limited to, WHITE, DWFT, other DWFT assets, ZEN and/or

  EIGHTFOLD (an entity AZ used to perform “development services” and receive various other

  payments).

             260.    While the Texas State Court lawsuit was still pending, ROMSPEN and AZ

  desperately stepped up efforts to hatch a settlement agreement with WHITE to resolve ZEN’s

  dispute with ROMSPEN.

             261.    WHITE’s receipt of information from AZ, confirming ROMSPEN’s plan to take

  over the AUSTIN PROPERTY, prompted him to take steps to safeguard his own and related

  14
       See AZ email to WHITE dated October 19, 2019, attached hereto as Exhibit 13.




  4811-1816-7240, v. 1
                                                          43
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 46 of
                                        89



  interests in the AUSTIN PROPERTY and to protect other more valuable PLEDGE ASSETS in

  Canada against foreclosure.

           262.     Nearing the end of October, 2019, in an effort to protect investments in the

  AUSTIN PROPERTY, WHITE engaged a broker and had procured a potential buyer for the

  property.

           263.     AZ and ROMSPEN’s then existing interests in the AUSTIN PROPERTY, were

  incommensurate with the prospect of WHITE finding a buyer and, upon information and belief,

  ROMSPEN encouraged AZ to devise a plan to thwart WHITE’s efforts to sell.

           264.     In early November 2019, AZ called and threatened WHITE’s broker, claiming

  there would be “consequences” if he attempted to bring prospective buyers anywhere near the

  AUSTIN PROPERTY.

           265.     Upon information and belief, AZ’s threats against the broker were designed to

  protect AZGROUP’s own contractual/economic interests in ROMSPEN acquiring the AUSTIN

  PROPERTY.

           266.     In early November 2019, WHITE agreed to meet with AZ at the AUSTIN

  PROPERTY to discuss terms of a Settlement Memorandum and/or Forbearance Agreement

  (hereinafter “settlement agreements”) geared toward resolving then current disputes between

  ROMSPEN and WHITE, DWFT, DWFT assets and/or ZEN.

           267.     When WHITE failed to voluntarily sign the settlement agreement(s), AZ then

  threatened WHITE, telling him that he would cause tax and/or other problems for him

  personally, and that he would report WHITE to FBI “contacts” who owed him “favors” if he

  reused to sign the agreement(s).




  4811-1816-7240, v. 1
                                                    44
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 47 of
                                        89



           268.     WHITE refused to sign the settlement agreements against the backdrop of AZ’s

  threats, whereupon AZ assaulted him with a chair and a steel bar, before forcibly removing

  WHITE from the AUSTIN PROPERTY.

           269.     WHITE reported the incident involving AZ to the local police, however, the

  matter was not further investigated.

           270.     At all times material hereto, AZ had a history of threatening and coercing DWFT

  asset employees, when they failed to comply with his requests to hide and/or obfuscate acts of

  misappropriation and/or other misdeeds from WHITE and/or other DWFT assets.

           271.     Shortly after AZ threatened and assaulted WHITE, he was asked to resign from

  his positions as trustee, officer and/or director of any of the DWFT assets.

           272.     Against the backdrop of AZ’s threats and acts of violence toward WHITE and

  his broker, settlement attempts subsided.

           273.     Thereafter, in or about November 26 2019, AZ agreed to the appointment of a

  Receiver in the Texas lawsuit, in his capacity as a Director of ZEN.

           274.     Thereafter, on November 27, 2019, absent consent and/or other permission from

  WHITE and/or ZEN, AZ unilaterally caused the Texas lawsuit to be non-suited/withdrawn.

           275.     The withdrawal of the Texas lawsuit favored ROMSPEN, who was left with the

  choice of continuing the action.

           276.     While still under management of a Court appointed receiver, ROMSPEN

  unilaterally deployed approximately $6,000,000.00 USD in the form of protective funding, fees

  and/or other interest, over WHITE’s objection, and in direct contravention of WHITE’s

  counsel’s admonition to refrain from further dispersing funds.




  4811-1816-7240, v. 1
                                                   45
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 48 of
                                        89



           277.     On April 15, 2020, ZEN was petitioned into bankruptcy.

                    IV.    FACTS PARTICULAR TO DEFENDANT AZ

           278.     Upon information and belief, AZ’s initial meeting with WHITE was not

  coincidental but rather, it took place at the behest of others including a local lender, lawyer,

  ROMSPEN and/or other individual(s) familiar with the AUSTIN PROPERTY’s development

  potential.

           279.     At all times material hereto, AZ calculated and preyed upon WHITE’s local

  vulnerability as a wealthy Canadian businessman, unfamiliar with the Austin construction and

  development scene, and in need of connections to pursue his project.

           280.     AZ sought to ingratiate himself unto WHITE in order to prey upon a future

  trusted friendship that would inevitably provide him easy business opportunity and the chance to

  exploit WHITE’s assets and wealth.

           281.     From the beginning of his involvement as WHITE’s friend and general

  contractor, he gleaned insight into the value of the AUSTIN PROPERTY and other valuable

  WHITE assets that were made known to him including, but not limited to, the DWFT and its

  holdings.

           282.     AZ and WHITE shared family and other personal experiences during the tenure

  of their friendship and, from all outward appearances, WHITE reasonably believed in the bona

  fides of the friendship and that he could trust and rely upon AZ in matters of business based upon

  their confidential relationship.

           283.     After AZ the appointment of trustee for the DWFT, WHITE’s trust in AZ was

  fortified based upon anticipated fiduciary obligations that emanated from AZ’s position(s).




  4811-1816-7240, v. 1
                                                   46
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 49 of
                                        89



           284.     At all times material hereto, however, AZ used his position as a DWFT trustee

  and/or related positions as an officer and/or director of several DWFT trust assets in order to

  serve AZGROUP’s interests.

                    A.     AZ’s operation and management of ABSOLUTE

           285.     After becoming a Director of ABSOLUTE, AZ owed common law and/or

  statutorily imposed duties of care under the Alberta Business Corporations Act including, but not

  limited to, the following:


           (c)      the duty to act honestly and in good faith with a view toward ABSOLUTE’s best
                    interests when exercising his powers and discharging his duties as an officer or
                    corporate Director;

           (d)      the duty to disclose any and all information AZ had in relation to matters relating
                    to the financial interests of ABSOLUTE;

           (e)      the duty to exercise the care, diligence and skill that a reasonably prudent person
                    would exercise in comparable circumstances when exercising his powers and
                    discharging his duties as an officer or corporate director;

           (f)      the duty to comply with the provisions of the Alberta Business Corporations Act
                    and its regulations; and/or

           (g)      the duty to comply with ABSOLUTE’s articles, bylaws and/or any unanimous
                    shareholder agreements;


           286.     While he was a Director of ABSOLUTE, AZ pledged the company’s asset as

  collateral for the SECOND ZEN LOAN by ROMSPEN, in which AZGROUP had an interest,

  but for which he failed to disclose and/or otherwise seek permission.

           287.     AZ terminated ABSOLUTE’s then existing key and competent employees, in

  order to replace the same with new employees whom were beholden unto him.




  4811-1816-7240, v. 1
                                                     47
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 50 of
                                        89



           288.     At all times material hereto, AZ adopted plans and pursued business objectives

  that served AZ and/or AZGROUP’s financial interests, but were not in the best interests of

  ABSOLUTE.

           289.     At all times material hereto, while acting as a Director of ABSOLUTE, AZ

  engaged in the following acts, incommensurate with ABSOLUTE’s best interests:


                (a) entered into commercially unreasonable contracts;

                (b) adopted business plans and pursued business objectives that lacked financial
                    viability and/or commercial reasonableness;

                (c) failed to contest inaccurate tax assessments, thereby causing tax assessments to
                    accrue against ABSOLUTE’s land assets;

                (d) failed to generate revenue;

                (e) embezzled and/or converted monies and/or assets

                (f) failed to generate new leases;

                (g) failed to generate new business opportunities; and/or

                (h) mismanaged ABSOLUTE in a manner causing it to lose customers and
                    accompanying revenues.

           290.     AZ resigned as a Director of ABSOLUTE on October 29, 2019, but thereafter

  continued to collude and/or conspire with ROMSPEN in a manner that endangered

  ABSOLUTE’s assets from being foreclosed upon by ROMSPEN.


           291.     Upon resigning, AZ disseminated ABSOLUTE’s confidential business, financial

  and/or tax records absent permission and/or other authority to do so.


           292.     Upon resigning, AZ intentionally interfered with contractual relationships

  between ABSOLUTE and it employees by encouraging one or more employees to engage in

  corporate espionage.




  4811-1816-7240, v. 1
                                                     48
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 51 of
                                        89



           293.     Upon resigning AZ intentionally encouraged ABSOLUTE’s employees to breach

  their own fiduciary and/or other of fidelity and confidentiality, including those arising

  contractually from employment agreements.


           294.      ABSOLUTE was a successful and profitable corporation with annual revenues

  exceeding $3, 200,000 CAD, prior to AZ’s Directorship and exercise of control over and misuse

  of ABSOLUTE’s assets.


           295.     Upon information and belief, AZ looted and/or embezzled ABSOLUTE’s profits

  in the course of his management and/or control of the company.


           296.     At all times material to this Complaint AZ conspired with WOODHAM and/or

  ROMSPEN to injure ABSOLUTE, and used ABSOLUTE to perform unlawful acts.

                    B.     AZ’s operation and management of ECO

           297.     Likewise, on October 26, 2018, AZ individually and/or as DWFT trustee, became

  a director of ECO.

           298.     As a result of becoming a Director of ECO, AZ owed common law and/or

  statutorily imposed duties of care under the Alberta Business Corporations Act including, but not

  limited to. the following:


           (h)      the duty to act honestly and in good faith with a view toward ECO’s best interests
                    when exercising his powers and discharging his duties as an officer or corporate
                    Director;

           (i)      the duty to disclose any and all information AZ had in relation to matters relating
                    to the financial interests of ECO;

           (j)      the duty to exercise the care, diligence and skill that a reasonably prudent person
                    would exercise in comparable circumstances when exercising his powers and
                    discharging his duties as an officer or corporate director;




  4811-1816-7240, v. 1
                                                     49
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 52 of
                                        89



           (k)      the duty to comply with the provisions of the Alberta Business Corporations Act
                    and its regulations; and/or

           (l)      the duty to comply with ECO’s articles, bylaws and/or any unanimous
                    shareholder agreements;


           299.     During his tenure as a Director of ECO, AZ failed to disclose any and all

  information AZ had in relation to matters affecting the financial interests of ECO.

           300.     While he was a Director of ECO, AZ pledged the company’s asset as collateral

  for the SECOND ZEN LOAN by ROMSPEN, in which AZGROUP had an interest, but for

  which he failed to disclose and/or otherwise seek permission.

           301.     AZ terminated ECO’s then existing key and competent employees, in order to

  replace the same with new employees whom were beholden unto him.

           302.     At all times material hereto, AZ adopted plans and pursued business objectives

  that served AZ and/or AZGROUP’s financial interests, but were not in the best interests of

  ECO.

           303.     At all times material hereto, while acting as a Director of ECO, AZ engaged in

  the following acts, incommensurate with ECO’s best interests:


                 (a) entered into commercially unreasonable contracts;

                 (b) adopted business plans and pursued business objectives that lacked financial
                     viability and/or commercial reasonableness;

                 (c) failed to contest inaccurate tax assessments, thereby causing tax assessments to
                     accrue against ECO’s land assets;

                 (d) failed to generate sales revenue;

                 (e) embezzled and/or converted monies and/or assets

                 (f) failed to generate new leases;

                 (g) failed to generate new business opportunities; and/or




  4811-1816-7240, v. 1
                                                         50
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 53 of
                                        89



                (h) mismanaged ECO in a manner causing it to lose customers and accompanying
                    revenues.

           304.     AZ resigned as a Director of ECO on October 29, 2019, but thereafter continued

  to collude and/or conspire with ROMSPEN in a manner that endangered ECO’s assets from

  being foreclosed upon by ROMSPEN.


           305.     Upon resigning, AZ disseminated ECO’s confidential business, financial and/or

  tax records absent permission and/or other authority to do so.


           306.     Upon resigning, AZ intentionally interfered with contractual relationships

  between ECO and it employees by encouraging one or more employees to engage in corporate

  espionage.


           307.     Upon resigning AZ intentionally encouraged ECO’s employees to breach their

  own fiduciary and/or other of fidelity and confidentiality, including those arising contractually

  from employment agreements.


           308.          Prior to October 26, 2018, ECO was a successful and profitable corporation that

  had earned over $100, 000,000.00 CAD in revenue.


           309.     Upon information and belief, AZ looted and/or embezzled ECO’s profits in the

  course of his management and/or control of the ECO.


           310.     At all times material to this Complaint AZ conspired with WOODHAM and/or

  ROMSPEN to injure ECO, and used ECO to perform unlawful acts.

                    C.         AZ as Trustee




  4811-1816-7240, v. 1
                                                       51
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 54 of
                                        89



           311.     As a result of becoming a DWFT trustee, AZ owed the following duties to the

  DWFT and/or other DWFT assets:

                (a) fiduciary duty;

                (b) a duty of fidelity;

                (c) a duty of good faith;

                (d) a duty of candor and disclosure;

                (e) a duty of care that required him to exercise the care, diligence and skill that a
                    reasonably prudent person would exercise in comparable circumstances when
                    exercising his powers and discharging his duties; and/or

           312.     As a result of these duties, AZ was required to:

                (a) act honestly and in good faith with a view to the best interests of the DWFT,
                    and/or other DWFT assets, when exercising his powers and discharging his
                    duties;

                (b) disclose any and all information that had in relation to matters relating to the
                    financial interests of the DWFT and/or DWFT assets;

                (c) exercise the care, diligence and skill that a reasonably prudent person would
                    exercise in comparable circumstances when exercising his powers and
                    discharging his duties;

                (d) comply with the provisions of the Alberta Business Corporations Act and its
                    regulations;

                (e) comply with the trust documents and all applicable partnership agreements,
                    articles, bylaws and unanimous shareholder agreements; and

           313.     Notwithstanding his aforementioned duties AZGROUP engaged in conduct that

  was contrary to the DWFT and/or other DWFT assets.

           314.     At all material times AZ specifically excluded WHITE from negotiating with

  ROMSPEN, claiming that ROMSPEN demanded to deal directly with AZ.

           315.     At all times material hereto AZGROUP engaged in self-dealing, to the detriment

  of the DWFT and/or DWFT assets.




  4811-1816-7240, v. 1
                                                       52
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 55 of
                                        89



           316.     AZ met privately with ROMSPEN to finalize the site’s Construction Contract.

           317.     In spite of being a DWFT trustee and/or fiduciary to one or more DWFT assets,

  AZ effectively awarded a lucrative construction contract to PANACHE, creating a conflict of

  interest.

           318.     The PANACHE construction contract contained payment obligations in excess of

  fair market value and were not in the best interests of the DWFT and/or any other DWFT asset.

           319.     AZ also had private meetings with ROMSPEN, wherein they finalized the

  fundamental tenets of the SECOND ZEN LOAN in the amount of $125,000,000.00 USD.

           320.     AZ negotiated loan terms that included economic benefits to AZ and/or

  AZGROUP, including, but not limited to, payments of loan proceeds directly to PANACHE.

           321.     At all material times, AZ colluded and/or conspired with ROMSPEN to ensure

  that every construction draw under the SECOND ZEN LOAN, went directly into PANACHE’s

  bank account, thereby avoiding checks and balances designed to ensure against misappropriation

  of draw proceeds.

           322.     AZ stealthily included an $8,100,000.00 payment to PANACHE in the

  SECOND ZEN LOAN, however, he failed to seek approval and/or otherwise disclose the same

  to WHITE and/or the DWFT.

           323.     At all material times hereto, AZ persuaded and/or convinced WHITE to pledge

  virtually all of his North American assets, in addition to undertaking personal guarantees, in

  connection with securing ROMSPEN construction loans.

           324.     In the alternative, AZ himself as DWFT Trustee, Director and/or Officer of any

  DWFT asset, unilaterally caused PLEDGE ASSETS to be collateralized in connection with

  ROMSPEN’s SECOND ZEN LOAN.




  4811-1816-7240, v. 1
                                                   53
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 56 of
                                        89



           325.     At all times material hereto, the pledge of such significant assets should have been

  presented to a full board of DWFT trustees, and agreed to and formalized by a formal DWFT

  resolution.

           326.     At all material times AZGROUP failed to:

                    (a) perform the AUSTIN PROPERTY construction in a good and/or
                        workmanlike manner;

                    (b) failed to use acceptable and proper construction methods in the course of
                        attempting to build and/or construct structures on the AUSTIN PROPERTY;

                    (c) failed to construct the AUSTIN PROPERTY development in compliance
                        with an acceptable construction schedule;

                    (d) failed to construct the AUSTIN PROPERTY within prescribed construction
                        budgets; and/or

                    (e) failed to maintain insurance coverage on the AUSTIN PROPERTY.

           327.     In addition to the foregoing, AZGROUP has also violated health and

  occupational safety regulations in the course of the AUSTIN PROPERTY development,

  including, but not limited to, conducting asbestos abatement without following OSHA

  regulations and, thereby, placing the lives of on site workers at risk and causing the prospect of

  further economic damage to the DWFT and/or any other DWFT asset.

           328.     Upon information and belief, AZGROUP has permitted the use of unlawful

  and/or undocumented workers in construction upon the AUSTIN PROPERTY and provided

  housing for said workers as part of their compensation and/or for illegal fees, all in derogation of

  the Immigration and Tax laws of the United States.

           329.     Upon information and belief, AZ’s conduct related to the hiring and/or housing of

  undocumented workers, jeopardizes the continuing viability of the AUSTIN PROPERTY

  development and places WHITE, DWFT and/or other DWFT trust assets at risk of payable tax

  assessments, government penalties and/or other fines.




  4811-1816-7240, v. 1
                                                     54
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 57 of
                                        89



           330.     In the course of AZ’s tenure as DWFT trustee, he transferred and/or attempted to

  transfer ownership of DWFT assets to himself, including, but not limited to, a BMW motor

  vehicle.

           331.     Upon information and belief, in the course of AZ’s tenure as a DWFT trustee, he

  issued loans to himself in excess of $4,000,000.00, from the DWFT and/or other DWFT assets,

  absent appropriate loan documentation and upon terms that were commercially unreasonably.

           332.     At all material times AZGROUP earned secret and/or undisclosed profits to the

  detriment of the DWFT and/or any other DWFT asset.

           333.     At all times material hereto, AZ acted contrary to the interests of the DWFT

  and/or any other DWFT asset by, among other things, threatening WHITE’s real estate agent

  while he sought to facilitate the sale of the AUSTIN PROPERTY.

           334.      At all times material hereto, AZ acted contrary to the interests of the DWFT

  and/or any other DWFT asset by, among other things, refusing to allow prospective purchasers

  to view the AUSTIN PROPERTY.

           335.     At all material times AZ acted contrary to the best interests of the DWFT by

  mismanaging and/or engaging in the aforementioned unauthorized, unpermitted and or otherwise

  unlawful conduct as a Director of ABSOLUTE and/or ECO.

           336.     At all material times AZ acted contrary to the best interests of the DWFT by

  mismanaging and/or engaging in unpermitted and or otherwise unlawful conduct as a Director of

  other PLEDGE ASSETS.

           337.     After AZ resigned as trustee of the DWFT, he slandered and/or caused DWFT to

  be libeled via statement he made in the local print news and/or elsewhere to third parties,

  including: (a) that WHITE was involved in committing and/or being investigator for tax crimes,




  4811-1816-7240, v. 1
                                                    55
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 58 of
                                        89



  (b) that WHITE and/or the DWFT were insolvent and unable to meet financial obligations

  necessary for ZEN’s successful completion of the AUSTIN PROPERTY development, (c) that

  WHITE made false and/or fraudulent allegations in the context of the Texas Petition, and/or (d)

  that WHITE was responsible for the failure of the AUSTIN PROPERTY development.

           338.     AZGROUP acted in a manner contrary to DWFT and/or DWFT assets by

  withdrawing Texas litigation on behalf of WHITE and ZEN.

           339.     Upon information and belief, when AZ resigned as a DWFT trustee he left

  corporate chaos in his wake, in order to avoid revelation of his fraudulent, unlawful and/or

  unethical conduct as a DWFT trustee.

                                     FIRST CAUSE OF ACTION
                     (Breach of Fiduciary Duty: All Plaintiffs as Against ROMSPEN)

           340.     Paragraphs one (1) through three-hundred-and-thirty-nine (339) are realleged as if

  the same were set forth fully herein.

           341.     At all times material hereto, ROMSPEN owed Plaintiffs various duties based

  upon its express status as “trustee” in one or more of the written agreements between the parties

  including, but not limited to, the FM Commitment, the Lamont Property Commitment and/or the

  MOS8 Commitment, all of which ostensibly refer to the same loan and/or credit facility that

  ROMSPEN extended to WHITE, DWFT and/or DWFT assets in said capacity.

           342.     In addition to being named as a “trustee” in the aforesaid agreements,

  ROMSPEN and WHITE, DWFT and/or other DWFT assets conducted business together for

  many years prior to the MOS8 loan and/or the ZEN CONSTRUCTION LOANS and had

  developed a special and/or confidential relationship, wherein ROMSPEN held a position of trust

  and confidence with respect to WHITE, DWFT and/or DWFT assets.




  4811-1816-7240, v. 1
                                                    56
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 59 of
                                        89



           343.     At all times material hereto, ROMSPEN also inserted itself into WHITE’s

  business and/or maintained strict control over the actions of WHITE, DWFT and/or DWFT

  assets, to wit, (1) installing its own manager, co-broker and/or developer as part of the MOS8

  transaction for substantial fees and/or in contemplation of substantial profits to be made, (2)

  controlling the partnership interests in the MOS8 investments, (3) owning property and/or

  managing interests for WHITE, (4) lending money but strictly conditioning draws upon its

  discretion and/or refusing draws in order to impose its will upon development of the AUSTIN

  PROPERTY, (5) installing its own employees and/or quantity surveyors on a full time basis

  upon the AUSTIN PROPERTY, (6) controlling and/or otherwise influencing the AUSTIN

  PROPERTY’s General Contractor AZGROUP, (7) dealing directly with tenants, suppliers

  and/or sub-contractors on the AUSTIN PROPERY development site, and/or (8) essentially

  excluding WHITE from any and all negotiations in favor of dealing with his Contractor

  AZGROUP.

           344.     For these reasons and other reasons, ROMSPEN had a special, confidential and

  fiduciary relationship in relation to WHITE, DWFT and/or other DWFT assets, and therefore

  owed them corresponding duties including, but not limited to, the duties of candor, disclosure,

  loyalty, confidentiality, heightened care, good faith and fair dealing and/or the general duty not

  to induce contractual relations via fraud.

           345.     ROMSPEN breached aforementioned duties in one or more of the following

  ways, including, but not limited to:

                (a) failing to act honestly and in good faith in dealing with Plaintiffs;

                (b) failing to place before and/or prioritize any one or more of the Plaintiffs’ interests
                    over its own;

                (c) earning unauthorized profits or undisclosed secret profits at Plaintiffs’ expense;




  4811-1816-7240, v. 1
                                                      57
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 60 of
                                        89



                (d) failing to disclose its own financial interests in transactions involving WHITE,
                    DWFT and/or other DWFT assets;

                (e) failing to disclose any and all information had by ROMSPEN relating to the
                    financial interests of the Plaintiffs;

                (f) failing to account for monies received by the State of Texas in connection with a
                    condemnation settlement award;

                (g) fraudulently inducing the Plaintiffs to enter into agreements that were not in their
                    best interests;

                (h) acting as trustee and lender without proper disclosures to Plaintiffs;

                (i) charging excessive fees and interest upon loans/credit facilities;

                (j) “churning” loans for its own interest at Plaintiffs’ expense;

                (k) engaging in a pattern of self dealing and conflict laden transaction with Plaintiffs;

                (l) mismanaging the MOS8 partnership and permitting its own representatives,
                    MILAM, to use $35, 000,000.00 USD of Plaintiffs credit facilities without any
                    construction and/or development progress and, causing the AUSTIN
                    PROPERTY to suffer $30,000,000.00 USD in damages.

                (m) unlawfully attempting to precipitate default and take over Plaintiffs’ AUSTIN
                   PROPERTY;

                (n) making false default allegations in an effort to acquire the AUSTIN
                    PROPERTY; and/or

                (o) attempting to coerce Plaintiffs into settling disputes in a manner that involved
                    surrender of the AUSTIN PROPERTY and a general release of all liability for
                    prior acts of misconduct.

           346.     At all times material hereto, the Plaintiffs and/or any of them suffered injury and

  damages as a direct and proximate cause of the aforesaid breaches by ROMSPEN.

           347.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.




  4811-1816-7240, v. 1
                                                     58
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 61 of
                                        89



                                     SECOND CAUSE OF ACTION
                     (Fraud in the Inducement; All Plaintiffs as against ROMSPEN)

           348.     Paragraphs one (1) through three-hundred-and-forty-seven (347) are realleged as

  if the same were set forth fully herein.

           349.     ROMSPEN advised WHITE, DWFT and/or other DWFT assets, to invest in the

  MOS8 limited partnership representing, inter alia, that the opportunity was a “perfect” “valet”

  investment for WHITE who would participate in profits from the AUSTIN PROPERTY real

  estate development, and earn as much as $200,000.00 USD in as little as two years.

           350.     At all times material hereto, ROMPSPEN knew that its representations were

  materially false.

           351.     At the time of their making, ROMSPEN lacked knowledge of the truth of its

  representations, yet continued their positive assertion.

           352.     At all material times hereto, ROMSPEN’s statements were made intentionally

  and/or in reckless disregard of the truth.

           353.     At all times material hereto, ROMSPEN’s representations were made with the

  specific purpose of inducing WHITE to act on the investment.

           354.     ROMSPEN knew, or should have known, that its statements would induce

  WHITE to act.

           355.     At all times material here, ROMSPEN never intended to perform as promised in

  the manner represented to WHITE in connection with the aforesaid inducement.

           356.     At all times material hereto, WHITE reasonably, justifiably and/or detrimentally

  relied upon ROMSPEN’s statements in agreeing to the MOS8 investment.

           357.     As a result of the aforesaid inducement, WHITE entered into the MOS8

  agreement/contract to his detriment.




  4811-1816-7240, v. 1
                                                    59
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 62 of
                                        89



           358.     As a direct and proximate result of the aforesaid inducements, DWFT and/or

  other DWFT assets have suffered, and will continue to suffer, injury and/or damages.

           359.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.

                                    THIRD CAUSE OF ACTION
                              (Fraud: All Plaintiffs as against ROMSPEN)

           360.     Paragraphs one (1) through three-hundred-and-fifty-nine (359) are realleged as if

  the same were set forth fully herein.

           361.     ROMSPEN specifically agreed orally and/or under the terms of the ZEN

  CONSTRUCTION COMMITMENT, the accompanying Promissory Note and/or the

  purported ZEN CONSTRUCTION LOAN agreement, that it would (1) lend Plaintiffs and/or

  any of them $125,000,000.00, and (2) that it would not withhold its consent to PACE financing.

           362.     At all material times, these and other representations procured and/or otherwise

  caused WHITE to execute agreements and/or otherwise assent to ROMSPEN’s loan terms.

           363.     Such representations, against the backdrop of Plaintiffs’ intention to continue

  and/or commence the AUSTIN PROPERTY development, caused WHITE, DWFT and/or any

  other DWFT asset, to enter into loan agreements with ROMSPEN.

           364.     At all times material hereto ROMPSPEN deliberately concealed and/or failed to

  disclose its intention to overstate the promissory note and reduce loan amounts from $125,

  000,000.00 to $102,000,000.00 USD.




  4811-1816-7240, v. 1
                                                     60
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 63 of
                                        89



           365.     ROMSPEN’s explanation that the loan reduction was “routine practice”

  evidences its ab initio intention to lend less than was promised.

           366.     At all times material hereto ROMPSPEN deliberately concealed and/or failed to

  disclose its intention to withhold consent for PACE Loan financing that, at all material times

  hereto, was a critical assumption relied upon by Plaintiffs, or any of them, in budgeting for and

  ultimately assessing its financial wherewithal to successfully develop the AUSTIN

  PROPERTY.

           367.     At all times material hereto, ROMSPEN’s aforesaid misrepresentations caused

  Plaintiffs, or any of them, to enter into loan transactions without clearly understanding duties,

  obligations and/or risks incurred.\

           368.     The aforesaid intentional misrepresentations, contained in written agreements

  drafted by ROMSPEN, induced WHITE to enter into such agreements on behalf of DWFT

  and/or any other DWFT asset.

           369.     ROMSPEN’s misrepresentations were made with the specific purpose of

  inducing WHITE to act on the investment.

           370.     ROMSPEN knew, or should have known, that its misrepresentations would

  induce WHITE to act.

           371.     ROMSPEN’s misrepresentations caused WHITE to enter into loan transactions

  on behalf of DWFT and/or any other DWFT asset, assuming key loan terms were operative,

  however, at all material times, ROMSPEN never intended to honor the same.

           372.     At all times material hereto, ROMSPEN never intended to perform as promised

  in connection with the loan agreements it induced WHITE to sign on behalf of the DWFT

  and/or any other DWFT asset.




  4811-1816-7240, v. 1
                                                    61
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 64 of
                                        89



           373.     At all times material hereto, WHITE reasonably, justifiably and/or detrimentally

  relied upon ROMSPEN’s intentional misrepresentations in agreeing to and/or otherwise

  executing, or causing the execution of, written agreements related to the SECOND ZEN LOAN.

           374.     As a direct and proximate result of the aforesaid intentional and material

  misrepresentations of fact, along with the resultant inducements, DWFT and/or other DWFT

  assets have suffered, and will continue to suffer, injury and/or damages.

           375.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.

                                   FOURTH CAUSE OF ACTION
                          (Constructive Fraud: All Plaintiffs as to ROMSPEN)

           376.     Paragraphs one (1) through three-hundred-and seventy-five (375) of the

  SECOND CAUSE OF ACTION, are realleged as if the same were set forth fully herein.

           377.     ROMSPEN’s aforementioned duties stemmed not only from its express status as

  “trustee” under MOS8 and other subsequent loan agreements/transactions, but also from the

  extreme and substantial control it exercised over the Plaintiffs’ MOS8 limited partnership

  investment and other property and/or projects owned/operated by Plaintiffs, or any of them.

           378.     In spite of being directly and/or indirectly in a position of control, authority, and

  confidence, with respect to WHITE, DWFT and/or other DWFT assets, ROMSPEN prioritized

  its own financial interests over those of the Plaintiffs and secreted its own financial stake, all to

  the Plaintiffs’ detriment.




  4811-1816-7240, v. 1
                                                      62
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 65 of
                                        89



           379.     As a result of ROMSPEN’s breached legal, equitable and/or other fiduciary

  duties, its conduct constitutes constructive fraud as against the Plaintiffs, or any of them. \

           380.     As a direct and proximate result of the aforesaid constructive fraud, DWFT

  and/or other DWFT assets have suffered, and will continue to suffer, injury and/or damages.

           381.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.

                                        FIFTH CAUSE OF ACTION
                            (Real Estate Fraud Tex. Bus. & Com. Code § 27.01(a)
                                       All Plaintiffs as to ROMSPEN)

           382.     Paragraphs one (1) through three-hundred-and eighty-one (381), of the SECOND

  CAUSE OF ACTION, are realleged as if the same were set forth fully herein.

           383.     At all times material hereto, ROMSPEN’s fraudulent inducement of the

  Plaintiffs, was related to real property located in Austin Texas and/or Edmonton Canada.

           384.     As a direct and proximate result of the aforesaid inducement, WHITE, DWFT

  and/or other DWFT assets have and will continue to suffer damages.

                                        SIXTH CAUSE OF ACTION
                         (Negligent misrepresentation: All Plaintiffs as to ROMSPEN)

           385.     Paragraphs one (1) through three-hundred-and-eighty-four (384), are realleged as

  if the same were set forth fully herein.

           386.     ROMSPEN advised WHITE, DWFT and/or other DWFT assets, to invest in the

  MOS8 limited partnership representing, inter alia, that the opportunity was a “perfect” “valet”




  4811-1816-7240, v. 1
                                                     63
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 66 of
                                        89



  investment for WHITE, who would participate in profits from the AUSTIN PROPERTY real

  estate development, and earn as much as $200,000,000.00 USD in as little as two years.

           387.     ROMSPEN also advised WHITE in writing and/or orally, that it was prepared to

  loan WHITE, DWFT and/or other DWFT assets up to $125,000,000.00 to complete the

  AUSTIN PROPERTY development.

           388.     Further, ROMSPEN communicated its willingness to give its consent for PACE

  loan financing in order to facilitate Plaintiffs’ completion of the AUSTIN PROPERTY

  development.

           389.     At all times material hereto ROMSPEN’s representations constituted

  communications made in the course of business and/or in a transaction in which it had a

  pecuniary interest.

           390.     At all times material hereto, ROMSPEN had a pecuniary interest in MOS8, as

  well as pecuniary interests arising out of the FIRST and SECOND ZEN LOANS, which were

  both related to the original MOS8 loan.

           391.     At all times material hereto, ROMSPEN supplied false information to guide

  others in the course of their business including, but not limited to, WHITE, DWFT and/or other

  DWFT assets.

           392.     At all times material hereto, ROMSPEN knew and/or should have known that its

  false information would misguide Plaintiffs’ with respect to their own business including, but not

  limited to, business involving loans and/or credit facilities extended to one or more Plaintiffs by

  ROMSPEN in connection with developing the AUSTIN PROPERTY.

           393.     ROMSPEN failed to exercise reasonable care in gathering and/or disseminating

  the aforesaid false information.




  4811-1816-7240, v. 1
                                                   64
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 67 of
                                        89



           394.     Plaintiffs and/or any of them suffered financial loss as a consequence of their

  justifiable reliance upon ROMSPEN’s representations.

                                   SEVENTH CAUSE OF ACTION
                               (Negligence: All Plaintiffs as to ROMSPEN)

           395.     Paragraphs one (1) through three-hundred-and ninety-four (394), are realleged as

  if the same were set forth fully herein.

           396.     At all material times hereto, ROMSPEN owed Plaintiffs, or any of them, a duty

  of reasonable care.

           397.     At all times material hereto, ROMSPEN had a duty to avoid foreseeable risks of

  harm to others including, but not limited to the Plaintiffs.

           398.     The aforesaid duty required ROMSPEN to exercise the care, attention and/or

  skill, of or an ordinary prudent person in the same and/or similar circumstances, in its dealings

  with the Plaintiffs.

           399.     Despite its duty of reasonable care, however, ROMSPEN failed to act reasonably

  in relation to the Plaintiffs, or any of them, in one or more of the following ways:

                (a) hiring MILAM and allowing him to mismanage the AUSTIN PROPERTY;

                (b) failing to supervise MILAM and/or remedy his mismanagement at a meaningful
                    time;

                (c) retaining MILAM in spite of knowing that he did not possess the care and skill
                    necessary to properly manage the AUSTIN PROPERTY, and protect the
                    Plaintiffs’ interest therein;

                (d) failing to heed the advice of BTY quantity surveyors with respect to necessary
                    funding of the AUSTIN PROPERTY development;

                (e) failing to consent to the PACE loan in order to facilitate development of the
                    AUSTIN PROPERTY;

                (f) refusing to honor draw requests in spite of BTY’s reports stating that there were
                    no construction irregularities or mismanagement of draws;




  4811-1816-7240, v. 1
                                                     65
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 68 of
                                        89



                (g) failing to account for and apply or advance monies received in connection with
                    settlement of ZEN’s condemnation related claims against the State of Texas;

                (h) failing to disclose any and all information had by ROMSPEN relating to the
                    financial interests of the Plaintiffs;

                (i) failing to disclose its self-dealings;

                (j) failing to prevent the loss of up to $7,000.000.00 in valuable scrap upon taking
                    over the AUSTIN PROPERTY via its ownership of MOS8

                (k) refusing to allow WHITE to participate in negotiating Construction Loans and/or
                    the SECOND ZEN LOAN;

                (l) requiring that AZ’s ownership in ZEN be increased so as to make him a
                    controlling partner;

                (m) interfering with tenants, subcontractors and/or suppliers on the AUSTIN
                   PROPERTY;

                (n) reducing the anticipated loan amount from $125,000,000.00 to $102,000,000.00;

                (o) providing confidential information about WHITE, DWFT and/or other DWFT
                    assets;

                (p) paying draws directly to PANACHE instead of ZEN.

           400.     As a direct and proximate result of the aforementioned wanton and careless

  behavior, the AUSTIN PROPERTY development has been thwarted and/or halted, to the

  financial and/or other detriment of the Plaintiffs or/any of them.

           401.     As a direct and proximate cause of the aforementioned careless behavior,

  ROMSPEN has caused ZEN’s AUSTIN PROPERTY development to fail, and thereby caused

  injury and damages to the Plaintiffs and/or any of them.

           402.     As a direct and proximate result of ROMSPEN’s aforementioned wanton and

  careless conduct, the Plaintiffs have suffered, and will continue to suffer, injury and/or damages.




  4811-1816-7240, v. 1
                                                       66
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 69 of
                                        89



                                    EIGHTH CAUSE OF ACTION
                     (Gross Negligence/Recklessness: All Plaintiffs as to ROMSPEN)

           403.     Paragraphs one (1) through four hundred two (402) are realleged as if the same

  were set forth fully herein.

           404.     At all times material hereto, ROMSPEN acted with reckless and/or wanton

  disregard for the wellbeing and/or financial interests of the Plaintiffs and/or any of them.

           405.     At all times material hereto, ROMSPEN’s reckless behavior toward Plaintiffs

  included, but was not limited to:

                (a) continuing to retain MILAM in spite of knowing that he did not possess the care
                    and skill necessary to properly manage the AUSTIN PROPERT, and protect the
                    Plaintiffs’ interest therein;

                (b) failing to consent to the PACE loan in order to facilitate development of the
                    AUSTIN PROPERTY;

                (c) refusing to honor draw requests in spite of BTY’s reports stating that there were
                    no construction irregularities or mismanagement of draws;

                (d) failing to account for and apply or advance monies received in connection with
                    settlement of ZEN’s condemnation related claims against the State of Texas;

                (e) failing to prevent the loss of up to $7,000.000.00 in valuable scrap upon taking
                    over the AUSTIN PROPERTY via its ownership of MOS8

                (f) refusing to allow WHITE to participate in negotiating Construction Loans and/or
                    the SECOND ZEN LOAN;

                (g) reducing the anticipated loan amount from $125,000,000.00 to $102,000,000.00;
                    and/or

                (h) paying draws directly to PANACHE instead of ZEN.

           406.     As a direct and proximate cause of the aforementioned reckless behavior,

  ROMSPEN has caused ZEN’s AUSTIN PROPERTY development to fail, and thereby caused

  injury and damages to the Plaintiffs and/or any of them.




  4811-1816-7240, v. 1
                                                    67
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 70 of
                                        89



           407.     ROMSPEN’s conduct toward WHITE, DWFT and/or DWFT assets constituted

  gross negligence.

           408.     As a direct and proximate result of ROMSPEN’s aforementioned wanton and

  careless conduct, the Plaintiffs have suffered, and will continue to suffer, injury and/or damages.

           409.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.

                                   NINTH CAUSE OF ACTION
               (Breach of Good Faith and Fair Dealings: All Plaintiffs as to ROMSPEN)

           410.     Paragraphs one (1) through four hundred-and nine (409) of the FIRST CAUSE

  OF ACTION are realleged as if the same were set forth fully herein.

           411.     At all times material hereto, ROMSPEN maintained a special and/or confidential

  relationship with Plaintiffs, or any of them, from which the duty of good faith and fair dealings

  flowed to Plaintiffs.

           412.     At all times material hereto, the relationship between ROMSPEN and Plaintiff,

  or any of them, was characterized as one of unequal bargaining power favoring ROMSPEN,

  from which the duty of good faith and fair dealings flowed to Plaintiffs.

           413.     As a result of ROMSPEN’s failure to deal fairly and in good faith, Plaintiffs have

  suffered, and will continue to suffer, injuries and/or other damages.

           414.     ROMSPEN’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,




  4811-1816-7240, v. 1
                                                    68
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 71 of
                                        89



  Plaintiff is entitled to recover exemplary damages from ROMSPEN in an amount exceeding

  $250, 000,000.00 USD.


                                    TENTH CAUSE OF ACTION
                         (Economic Duress: All Plaintiffs as Against ROMSPEN)

           415.     Paragraphs one (1) through four hundred-and-fifteen (415) are realleged as if the

  same were set forth fully herein.

           416.     At all times material hereto, ROMSPEN and Plaintiffs were engaged in a

  continuing contract.

           417.     On one or more occasions, ROMSPEN threatened to terminate and/or refuse to

  honor essential terms of its contracts with Plaintiffs.

           418.     ROMSPEN threatened to foreclose after precipitating and/or causing MOS8’s

  mismanagement and/or failure to develop the AUSTIN PROPERTY, forcing WHITE, DWFT

  and/or other DWFT assets to accept new and/or substitute financing terms including, but not

  limited to: (1) purchasing the AUSTIN PROPERTY and/or (2) assuming MOS8’s debt.

           419.     ROMSPEN also placed unreasonable conditions upon draw payments at critical

  times during the construction under threat of default, whereupon Plaintiffs, under duress, were

  forced to accept ROMSPEN’s conditions/terms.

           420.     At all times material hereto, ROMSPEN placed Plaintiffs in a situation of

  economic distress, leaving Plaintiffs no choice but to accept and/or agree to ROMSPEN’s terms.

           421.     At all times material hereto, ROMSPEN’s economic distress caused the

  Plaintiffs, or any of them, substantial economic harm, loss of opportunity and/or other injury and

  damages.




  4811-1816-7240, v. 1
                                                    69
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 72 of
                                        89



                                 ELEVENTH CAUSE OF ACTION
                   (Breach of Fiduciary Duty: All Plaintiffs as to AZ and PANACHE)

           422.     Paragraphs one (1) through four-hundred-and twenty-one (421) are realleged as if

  the same were set forth fully herein.

           423.     At all times material hereto, AZ was a duly appointed trustee of the DWFT, in

  addition to being a named DWFT trustee, WHITE and/or other DWFT assets had developed a

  special and/or confidential relationship with AZ, wherein AZ held a position of trust confidence

  with respect to WHITE, DWFT and/or DWFT assets.

           424.     Further, at all times material hereto, AZ also inserted himself into WHITE’s

  business and/or maintained control over the actions of WHITE, DWFT and/or DWFT assets, to

  wit, (1) unilaterally negotiating the SECOND ZEN LOAN, (2) unilaterally negotiating the

  PANACHE construction contract with ROMSPEN, (3) orchestrating his own controlling

  partnership interest in ZEN and thereby controlling the AUSTIN PROPERTY development, (4)

  excluding WHITE from all communications with ROMSPEN, (5) failing to provide WHITE ,

  DWFT and/or other DWFT asset, information necessary to assess and make decisions affecting

  the AUSTIN PROPERTY development, (6) receiving all construction loan draws through

  PANACHE instead of ZEN and/or (7) threatening WHITE and/or his brokers when they

  attempted to procure buyers for the AUSTIN PROPERTY.

           425.     At all times material hereto, AZ had a special, confidential and fiduciary

  relationship in relation to WHITE, DWFT and/or other DWFT assets and, at all material times,

  owed them corresponding duties including, but not limited to the duties of candor, disclosure,

  loyalty, confidentiality, heightened care, good faith and fair dealing and/or the general duty not

  to induce contractual relations via fraud.




  4811-1816-7240, v. 1
                                                     70
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 73 of
                                        89



           426.     AZ breached aforementioned duties in one or more of the following ways,

  including, but not limited to:

                (a) failing to act honestly and in good faith in dealing with Plaintiffs;

                (b) failing to place before and/or prioritize any one or more of the Plaintiffs’ interests
                    over its own;

                (c) earning unauthorized profits or undisclosed secret profits at Plaintiffs’ expense;

                (d) failing to disclose his own financial interests in transactions involving WHITE,
                    DWFT and/or other DWFT assets;

                (e) failing to disclose any and all information relating to the financial interests of the
                    Plaintiffs;

                (f) fraudulently inducing the Plaintiffs to enter into agreements with PANACHE that
                    were not in Plaintiffs’ interests;

                (g) charging excessive fees under construction contracts he negotiated for himself;

                (h) engaging in a pattern of self dealing and conflict laden transaction with Plaintiffs,
                    or any of them;

                (i) mismanaging the AUSTIN PROPERTY;

                (j) mismanaging and/or breaching fiduciary duties owed to ABSOLUTE and ECO;

                (k) firing key employees of DWFT;

                (l) unlawfully attempting and/or conspiring with ROMSPEN to precipitate default of
                    the SECOND ZEN LOAN, and thereafter take over the AUSTIN PROPERTY;
                    and/or

                (m) attempting to coerce Plaintiffs into settling disputes in a manner that involved
                   surrender of the AUSTIN PROPERTY and a general release of all liability for
                   prior acts of misconduct.

           427.     At all times material hereto, the Plaintiffs and/or any of them suffered injury and

  damages as a direct and proximate cause of AZ’s aforesaid breaches of duty.

           428.     AZ’s conduct was undertaken with a state of mind upon which the law predicates

  and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already sustained

  economic losses and those in respect of future economic loss and/or other opportunity, Plaintiff




  4811-1816-7240, v. 1
                                                      71
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 74 of
                                        89



  is entitled to recover exemplary damages from ROMSPEN in an amount exceeding $250,

  000,000.00 USD.

                                TWELFTH CAUSE OF ACTION
            (Breach of Fiduciary Duty: ABSOLUTE and ECO as to AZ and PANACHE)

           429.     Paragraphs one (1) through four-hundred-and-twenty-eight (428) are realleged as

  if the same were set forth fully herein.

           430.     At all times material hereto, AZ was a Manager, Officer and/or Director of

  ABSOLUTE and ECO (hereinafter the “companies”), and was charged with various legal

  and/or other duties of care in relation thereto.

           431.     At all times material hereto, AZ breached the aforementioned duties in one or

  more of the following ways, to wit:

                (a) engaging in aforementioned acts which were incommensurate with the best
                   interests of the companies;

                (b) disseminating confidential information belonging to the companies;

                (c) interfering in contractual obligations of company employees;

                (d) looting and/or embezzling company profits;

                (e) converting and/or attempting to convert assets belonging to the companies for
                   personal use;

                (f) terminating key employees upon whom the companies depended for continued
                   viability;

                (g) unlawfully pledging assets of the companies without DWFT authorization
                   and/or otherwise disclosing financial interests related to the same;

                (h) colluding and conspiring with ROMSPEN in an manner affecting the assets of
                   the companies; and/or

                (i) encouraging employees to breach fiduciary duties owed to the companies.

           432.     At all material times hereto, AZ’s conduct in breaching duties owed to the

  companies, proximately caused Plaintiffs to suffer injuries and/or other economic damages.




  4811-1816-7240, v. 1
                                                     72
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 75 of
                                        89



           433.     AZ’s conduct was undertaken with a state of mind upon which the law predicates

  and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already sustained

  economic losses and those in respect of future economic loss and/or other opportunity, Plaintiff

  is entitled to recover exemplary damages from AZGROUP in an amount exceeding $250,

  000,000.00 USD.

                                 THIRTEENTH CAUSE OF ACTION
                    (Fraud in the Inducement: All Plaintiffs as to AZ and PANACHE)

           434.     Paragraphs one (1) through four hundred-and-thirty-three (433) are realleged as if

  the same were set forth fully herein.

           435.     At all times material hereto, AZ represented to WHITE that he bore the requisite

  skills, fidelity, loyalty and/or business acumen to serve as a Trustee of the DWFT and/or an

  Officer/Director of any DWFT asset.

           436.     Further, AZ represented he had the requisite skills, fidelity, loyalty and/or

  business acumen to manage and/or operate DWFT assets including, but not limited to,

  ABSOLUTE and/or ECO.

           437.     Further, that AZ and/or AZGROUP bore the professional skills, experience,

  business connections and/or wherewithal, to serve as General Contractor of the AUSTIN

  PROPERTY development.

           438.     Further, AZ represented that he had the skill, experience and wherewithal to

  effectively negotiate the SECOND ZEN LOAN with ROMSPEN.

           439.     Further, AZ represented that he had the skill, experience and wherewithal to

  effectively negotiate PANACHE’s construction contract with ROMSPEN.

           440.     At all times material hereto, AZ knew that his representations were false and/or

  lacked knowledge of their truth at the time they were made.




  4811-1816-7240, v. 1
                                                     73
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 76 of
                                        89



           441.     At all times material hereto, AZ’s statements were made intentionally and/or in

  reckless disregard of the truth.

           442.     At all times material hereto, AZ’s representations were made with the specific

  purpose of inducing WHITE to appoint him as a DWFT trustee and/or officer/director of one or

  more DWFT assets.

           443.     At all times material hereto, AZ’s representations were made with the specific

  purpose of inducing WHITE to appoint AZ to one or more positions that would allow him to

  negotiate the SECOND ZEN LOAN and the PANACHE construction contract.

           444.     At all times material hereto, WHITE reasonably, justifiably and/or detrimentally

  relied upon AZ’s statements and/or representations.

           445.     Based upon AZ’s false representations, WHITE named AZ as a DWFT trustee

  and authorized that capacity via written agreement executed by WHITE and/or any other

  DWFT trustee.

           446.     Based upon AZ’s false representations, WHITE entered into written agreements

  and/or resolutions authorizing/acknowledging AZ as a manager, officer and/or director of one or

  more of the DWFT assets including, but not limited to, ABSOLUTE and ECO.

           447.     In one or more of the aforementioned appointed capacities AZ negotiated,

  completed and/or otherwise perfected (1) the SECOND ZEN LOAN, and (2) the PANACHE

  construction contract, both obligating WHITE, DWFT and/or any other DWFT to the terms and

  conditions of the same.

           448.     At all times material hereto, AZ never intended to perform as promised in the

  trustee agreement and/or the agreements effecting his corporate positions as manager, officer

  and/or director of any DWFT asset, ABSOLUTE and/or ECO.




  4811-1816-7240, v. 1
                                                    74
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 77 of
                                        89



           449.     At all material times, AZ knew and/or should have known that his statements

  would induce WHITE to act.

           450.     As a direct and proximate result of the aforesaid inducement, WHITE, DWFT

  and/or other DWFT assets have suffered, and will continue to suffer, injury and damages.

           451.     AZ’s conduct was undertaken with a state of mind upon which the law predicates

  and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already sustained

  economic losses and those in respect of future economic loss and/or other opportunity, Plaintiff

  is entitled to recover exemplary damages from AZGROUP in an amount exceeding $250,

  000,000.00 USD.

                                   FOURTEENTH CAUSE OF ACTION
                         (Constructive Fraud: All Plaintiffs as to AZ and PANACHE)

           452.     Paragraphs one (1) through four hundred-and fifty-one (451) of the ELEVENTH

  CAUSE OF ACTION, are realleged as if the same were set forth fully herein.

           453.     ROMSPEN’s aforementioned duties stemmed not only from its express status as

  “trustee” under MOS8 and other subsequent loan agreements/transactions, but also from the

  extreme and substantial control it exercised over the Plaintiffs’ MOS8 limited partnership

  investment and/or other property and/or projects owned/operated by Plaintiffs, or any of them.

           454.     As a result of AZ’s breach of legal, equitable and/or other fiduciary duties, his

  conduct constitutes constructive fraud as against the Plaintiffs, or any of them.

           455.     As a direct and proximate result of such constructive fraud, WHITE, DWFT

  and/or other DWFT assets have suffered, and will continue to suffer, injury and/or damages.

           456.     AZ’s conduct was undertaken with a state of mind upon which the law predicates

  and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already sustained

  economic losses and those in respect of future economic loss and/or other opportunity, Plaintiff




  4811-1816-7240, v. 1
                                                     75
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 78 of
                                        89



  is entitled to recover exemplary damages from AZGROUP in an amount exceeding $250,

  000,000.00 USD.

                                  FIFTEENTH CAUSE OF ACTION
                          (Real Estate Fraud Tex. Bus. & Com. Code § 27.01(a)
                                 All Plaintiffs as to AZ and PANACHE)

            457.     Paragraphs one (1) through four-hundred-and-fifty-six (456), of the

  THIRTEENTH CAUSE OF ACTION, are realleged as if the same were set forth fully herein.

            458.     At all times material hereto, AZ’s fraudulent inducement of the Plaintiffs was

  related to real property located in Austin Texas and/or Edmonton Canada.

            459.     As a direct and proximate result of the aforesaid inducement, WHITE, DWFT

  and/or other DWFT assets have and will continue to suffer damages.

                                   SIXTEENTH CAUSE OF ACTION
                   (Negligent misrepresentation: All Plaintiffs as to AZ and PANACHE)

            460.     Paragraphs one (1) through four hundred-and-fifty-nine (459) are realleged as if

  the same were set forth fully herein.

            461.     At all times material hereto AZGROUP’s representations constituted

  communications made in the course of business and/or in a transaction in which it had a

  pecuniary interests.

            462.     At all times material hereto, AZ had a pecuniary interest in being (1) a DWFT

  trustee, (2) officer/director of ABSOLUTE and/or ECO, (3) the General Contractor of the

  AUSTIN PROPERTY development, (4) the PANACHE construction contract, and/or (5) the

  SECOND ZEN LOAN.

            463.     At all times material hereto, AZ supplied false information to guide others in the

  course of their business including, but not limited to, WHITE, DWFT and/or other DWFT

  assets.




  4811-1816-7240, v. 1
                                                      76
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 79 of
                                        89



           464.     At all times material hereto, AZ knew and/or should have known, that its false

  information would misguide Plaintiffs with respect to their own business including, but not

  limited to, Plaintiffs’ business dealings and interests in the AUSTIN PROPERTY development,

  and both the SECOND ZEN LOAN and PANACHE’s construction contract.

           465.     At all times material hereto, AZ failed to exercise reasonable care in gathering

  and/or disseminating the aforesaid false information.

           466.     Plaintiffs and/or any of them suffered financial loss as a consequence of their

  justifiable reliance upon ROMSPEN’s representations.

                               SEVENTEENTH CAUSE OF ACTION
                          (Negligence: All Plaintiffs as to AZ and PANACHE)

           467.     Paragraphs one (1) through four-hundred-and sixty-six (466) are realleged as if

  the same were set forth fully herein.

           468.     At all material times hereto, AZGROUP owed Plaintiffs, or any of them, a duty

  of reasonable care.

           469.     At all times material hereto, AZGROUP had a duty to avoid foreseeable risks of

  harm to others including, but not limited to, the Plaintiffs.

           470.     The aforesaid duty required AZGROUP to exercise the care, attention and/or

  skill, of or an ordinary prudent person and/or contractor in the same and/or similar

  circumstances, in its dealings with the Plaintiffs.

           471.     In spite of its duty of reasonable care, however, AZGROUP failed to act

  reasonably in relation to the Plaintiffs, or any of them, in one or more of the following was:

                    (a) failing to complete the AUSTIN PROPERTY construction in a good and/or
                        workmanlike manner;

                    (b) failing to use acceptable and proper construction methods in the course of
                        attempting to build and/or construct structures on the AUSTIN PROPERTY;




  4811-1816-7240, v. 1
                                                     77
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 80 of
                                        89



                    (c) failing to operate the AUSTIN PROPERTY development in compliance with
                        an acceptable construction schedule;

                    (d) failing to construct the AUSTIN PROPERTY within prescribed construction
                        budgets;

                    (e) failing to comply with OSHA health and safety regulations;

                    (f) permitting undocumented workers to work in the course of the AUSTIN
                        PROPERTY developments;

                    (g) failing to maintain insurance coverage on the AUSTIN PROPERTY;

                    (h) failing to ensure adequate insurance coverage;

                    (i) excluding and/or secreting WHITE from negotiations with ROMSPEN;

                    (j) advising WHITE and/or other DWFT assets to pledge assets including the
                        AUSTIN PROPERTY and other real estate in Canada, in connection with
                        ROMSPEN’s SECOND ZEN LOAN;

                    (k) advising WHITE and/or other DWFT assets to act as guarantors to the
                        SECOND ZEN LOAN;

                    (l)   terminating key employees at ABSOLUTE and ECO;

                    (m) permitting disclosure of confidential information belonging to ECO and
                       ABSOLUTE;

           472.     As a direct and proximate result of the aforementioned wanton and careless

  behavior, the AUSTIN PROPERTY development has been thwarted and/or halted, to the

  financial and/or other detriment of the Plaintiffs or/any of them.

           473.     As a direct and proximate cause of the aforementioned careless behavior,

  AZGROUP has caused the AUSTIN PROPERTY development to fail, and thereby caused

  injury and damages to the Plaintiffs and/or any of them.

           474.     As a direct and proximate result of AZGROUP’s aforementioned wanton and

  careless conduct, the Plaintiffs have suffered, and will continue to suffer, injury and/or damages.




  4811-1816-7240, v. 1
                                                    78
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 81 of
                                        89



                               EIGHTEENTH CAUSE OF ACTION
                (Gross Negligence/Recklessness: All Plaintiffs as to AZ and PANACHE)

           475.     Paragraphs one (1) through four-hundred-and seventy-four (474) are realleged as

  if the same were set forth fully herein.

           476.     At all times material hereto, AZGROUP acted with reckless and/or wanton

  disregard for the wellbeing and/or financial interests of the Plaintiffs and/or any of them.

           477.     At all times material hereto, AZGROUP’s reckless behavior toward Plaintiffs

  included, but was not limited to:

                    (a) failing to comply with OSHA health and safety regulations;

                    (b) permitting undocumented workers to work on the AUSTIN PROPERTY;

                    (c) failing to maintain insurance coverage on the AUSTIN PROPERTY;

                    (d) advising WHITE and/or other DWFT assets to pledge assets including the
                        AUSTIN PROPERTY and other real estate in Canada in connection with
                        ROMSPEN’s SECOND ZEN LOAN;

                    (e) advising WHITE and/or other DWFT assets to act as guarantors to the
                        SECOND ZEN LOAN;

                    (f)    permitting disclosure of confidential information belonging to ECO and
                          ABSOLUTE;

           478.     As a direct and proximate cause of the aforementioned reckless behavior,

  AZGROUP has caused the AUSTIN PROPERTY development to fail, thereby causing injury

  and damages to the Plaintiffs and/or any of them.

           479.     At all times material hereto, AZGROUP’s conduct toward WHITE, DWFT

  and/or DWFT assets constituted gross negligence.

           480.     As a direct and proximate result of AZGROUP’s aforementioned wanton and

  careless conduct, the Plaintiffs have suffered, and will continue to suffer, injury and/or damages.




  4811-1816-7240, v. 1
                                                     79
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 82 of
                                        89



           481.     AZGROUP’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from AZGROUP in an amount exceeding

  $250, 000,000.00 USD.

                               NINETEENTH CAUSE OF ACTION
               (Breach of Good Faith and Fair Dealings: All Plaintiffs as to ROMSPEN)

           482.     Paragraphs one (1) through four-hundred-and eighty-one (481) of the

  ELEVENTH CAUSE OF ACTION, are realleged as if the same were set forth fully herein.

           483.     At all times material hereto, AZGROUP maintained a special and/or confidential

  relationship with Plaintiffs, or any of them, from which the duty of good faith and fair dealings

  flowed to Plaintiffs.

           484.     At all times material hereto, the relationship between AZGROUP and Plaintiffs,

  or any of them, was characterized as one of unequal bargaining power from which the duty of

  good faith and fair dealings flowed to Plaintiffs.

           485.     As a result of AZGROUP’s failure to deal fairly and in good faith, Plaintiffs have

  suffered, and will continue to suffer, injuries and/or other damages.

           486.     AZGROUP’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from AZGROUP in an amount exceeding

  $250, 000,000.00 USD.




  4811-1816-7240, v. 1
                                                    80
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 83 of
                                        89



                                  TWENTIETH CAUSE OF ACTION
                           (Civil Conspiracy: All Plaintiffs as all Defendants)

           487.     Paragraphs one (1) through four-hundred-and eighty-six (486) are realleged as if

  the same were set forth fully herein.

           488.     At all times material hereto AZGROUP and ROMSPEN acted in concert,

  colluded and/or conspired, one with any one or more of the others, to achieve unlawful purposes

  against one or more of the Plaintiffs including, but not limited to, one or more of the following:

                    (a) defrauding Plaintiffs to precipitate default by ZEN and thereafter foreclose or
                        otherwise acquire the AUSTIN PROPERTY and/or other economic interests
                        or benefits attendant thereupon;

                    (b) defrauding Plaintiffs, to precipitate default by ZEN and, thereafter, foreclose
                        upon the Edmonton properties that secured the SECOND ZEN LOAN;

                    (c) defrauding Plaintiffs for economic gain and/or benefits;

                    (d) breaching fiduciary duties owed to the Plaintiffs, in efforts to precipitate
                        default by ZEN and thereafter foreclose or otherwise acquire the AUSTIN
                        PROPERTY and/or other economic interests or benefits connected therewith;

                    (e) breaching fiduciary duties owed to Plaintiffs, in efforts to precipitate default
                        by ZEN and, thereafter, foreclose upon the Edmonton properties that secured
                        the SECOND ZEN LOAN; and/or otherwise

                    (f) breaching fiduciary duties owed to the Plaintiffs for economic gain and/or
                        benefits.

           489.     At all times material hereto, AZGROUP and ROMSPEN actually agreed to act

  toward the accomplishment of the aforesaid unlawful purposes by, engaging in fraudulent and

  dishonest conduct more fully set forth hereinbefore in the FIRST through FIFTH, and TENTH

  through FIFTEENTH CAUSES OF ACTION.

           490.     Among the many overt acts in furtherance of such civil conspiracy were (a)

  excluding WHITE from contract negotiations and/or dealings with ROMSPEN, (b) arranging

  draw payments to be deposited directly into PANACHE’s bank account, (c) disseminating




  4811-1816-7240, v. 1
                                                     81
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 84 of
                                        89



  and/or removing confidential information belonging to Plaintiffs, (d) using threats and/or

  violence to coerce unfair settlements resulting in ROMSPEN’s acquisition of the AUSTIN

  PROPERTY, (e) using threats and/or violence to prevent Plaintiffs, or any of them, from selling

  the AUSTIN PROPERTY, (e) piling on debt by continuing to advance draws directly to

  PANACHE, in spite of any sign that PANACHE was advancing construction commensurate

  with the amount of the draws, and/or (f) failing to pay and/or delaying payment of sub-

  contractors to thwart progress on the AUSTIN PROPERTY.

           491.     As a direct and proximate result of the Defendants’ unlawful and conspiratorial

  conduct, the Plaintiffs have suffered, and will continue to suffer, injury and/or damages

           492.     AZGROUP’s conduct was undertaken with a state of mind upon which the law

  predicates and/or permits the imposition of exemplary damages and, given the Plaintiffs’ already

  sustained economic losses and those in respect of future economic loss and/or other opportunity,

  Plaintiff is entitled to recover exemplary damages from AZGROUP in an amount exceeding

  $250, 000,000.00 USD.

                                   TWENTY-FIRST CAUSE OF ACTION
                         (Determination as to Secured Status Pursuant to 11 U.S.C. § 506
                                        Plaintiffs as against ROMSPEN)

           493.     Paragraphs one (1) through four-hundred-and thirty (339) are realleged as if the

  same were set forth fully herein.

           494.     ROMSPEN has claimed secured creditor status in this Chapter 11 Case.

           495.     ROMSPEN claims its secured status based upon certain mortgages and/or other

  instruments filed against real estate, ultimately belonging to Plaintiffs.

           496.     In light of ROMSPEN’s breaches of fiduciary duty, fraud in the inducement, real

  estate fraud, constructive fraud, negligence, gross negligence, bad faith and unfair dealings




  4811-1816-7240, v. 1
                                                    82
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 85 of
                                        89



  and/conspiracy, as set forth in the respective CAUSES OF ACTION herein, Plaintiffs seek a

  determination from this Court as to the extent and validity of ROMSPEN’s liens pursuant to 11

  U.S.C. § 506.

                                 TWENTY-SECOND CAUSE OF ACTION
                         (Disallowance of Claims Pursuant to 11 U.S.C. § 502:
                                   Plaintiffs as against ROMSPEN)

           497.     Paragraphs one (1) through four-hundred-and ninety-six (496) are realleged as if

  the same were set forth fully herein.

           498.     11 U.S.C. § 502 allows for disallowance of certain claims filed in the Chapter 11

  Case.

           499.     In light of ROMSPEN’s breached of fiduciary duties, fraud in the inducement,

  real estate fraud, constructive fraud, negligence, gross negligence, bad faith and unfair dealings,

  and/or civil conspiracy, as set forth in the respective CAUSES OF ACTION herein,

  ROMSPEN’s claims should be disallowed in whole and/or part.

           500.     Plaintiffs seeks determination by this Court that ROMSPEN’s claims be

  disallowed in whole and/or part, pursuant to 11 U.S.C. § 502

                                 TWENTY-THIRD CAUSE OF ACTION
              (Objection/Disallowance of Credit Bidding; Pursuant to 11 U.S.C. § 363(k):
                                  Plaintiffs as against ROMSPEN)

           501.     Paragraphs one (1) through five hundred (500) are realleged as if the same were

  set forth fully herein.

  allows for disallowance of certain claims filed in the Chapter 11 Case.

           502.     Pursuant to 18 U.S.C. 363(k) “credit bidder” status can be disallowed by the

  Court “for cause” and/or upon “good cause shown.”




  4811-1816-7240, v. 1
                                                    83
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 86 of
                                        89



           503.     ROMSPEN’s breaches of fiduciary duty, fraud in the inducement, real estate

  fraud, constructive fraud, negligence, gross negligence, bad faith and unfair dealings, and/or civil

  conspiracy, as set forth in respective CAUSES OF ACTION pled herein, constitute “cause”

  and/or “cause shown,” for disallowing ROMSPEN the benefit of “credit bidder” status in this

  case.

                                  TWENTY-FOURTH CAUSE OF ACTION
                         (Action in Accounting Plaintiffs as against ROMSPEN,
                                          PANACHE and AZ)

           504.     Paragraphs one (1) through five-hundred-and three (503) are realleged as if the

  same were set forth fully herein.

           505.     ROMSPEN, PANACHE and/or AZ were, at all times material hereto, related to

  Plaintiffs, as fiduciaries.

           506.     As fiduciaries, ROMPSEN, PANACHE and/or AZ, undertook obligations

  within a duty of full disclosure of pertinent financial information was inherent.

           507.     At all times material hereto, the disclosure obligations applied to all financial

  matters including, but not limited to, those which related to the AUSTIN PROPERTY

  development.

           508.     In spite of clear and obvious duties owed to Plaintiffs by all defendants, all of

  them have refused and/or otherwise failed to disclose or otherwise communicated the

  aforementioned financial information.

           509.     Said refusal and/or failures place Plaintiffs at an unfair advantage with respect to

  the advancement and/or protection of Bankruptcy claims and/or other legal rights.

           510.     Based upon the nature of the relationships between Plaintiffs and Defendants,

  Plaintiffs request this Court to order disclosure of the financial records sought.




  4811-1816-7240, v. 1
                                                      84
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 87 of
                                        89



                              TWENTY-FIFTH CAUSE OF ACTION
              (Constructive Trust: Plaintiffs as against ROMSPEN, PANACHE and AZ)

           511.     Paragraphs one (1) through five-hundred-and ten (510) are realleged as if the

  same were set forth fully herein.

           512.     Based upon the CAUSES OF ACTION pled herein, and facts alleged in support

  thereof, including actual and/or constructive fraud, the Plaintiffs seek an equitable order

  imposing a constructive trust upon the AUSTIN PROPERTY and/or any related assets.

           513.     Based upon the allegations herein, the Defendants have been unjustly enriched by

  millions of dollars as a result of their fraudulent conduct.

           514.     At all material times, the conduct of any one or more of the defendants constituted

  a wrongful taking of Plaintiffs’ property.

           515.     Such a constructive trust would be traceable to a res in which one or more

  Plaintiffs has an interest.

           516.     A constructive trust is warranted in this case, in order to prevent unjust

  enrichment of the Defendants related to fraud, misappropriation of funds and the breach of

  fiduciary duties.

           517.     The constructive trust should be imposed over Defendants’ assets, in an amount

  equal to or greater than the Plaintiffs’ damages claimed in this Complaint.


                               TWENTY-SIXTH CAUSE OF ACTION
                   (Injunction: Plaintiffs as against ROMSPEN, PANACHE and AZ)

           518.     Paragraphs one (1) through five-hundred-and seventeen (517) are realleged as if

  the same were set forth fully herein.

           519.     The actions and conduct of the Defendants and/or any of them have caused, and

  will continue to cause, immediate and/or immanent irreparable harm to Plaintiffs.




  4811-1816-7240, v. 1
                                                     85
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 88 of
                                        89



           520.     The unique nature of the AUSTIN PROPERTY and Plaintiffs’ interests therein,

  leave Plaintiff with no adequate remedy at law and/or money damages would be insufficient to

  redress the irreparable harm caused by Defendants’ conduct.

           521.     The Plaintiffs are likely to succeed on the merits of their fraud and/or negligent

  related claims.

           522.     The Plaintiffs seek mandatory and/or prohibitive injunctive relieve as necessary to

  protect its interests and/or legal rights.

           WHEREFORE the Plaintiffs make prayer to this honorable Court for the following

  remedies, orders and awards, as against any one or more of the Defendants:

                    (a) Compensatory damages;

                    (b) Exemplary damages in an amount not less than $250,000,000.00;

                    (c) Attorneys Fees;

                    (d) Costs of this action;

                    (e) Statutory Attorneys Fees, Costs and Special damages pursuant to Tex. Bus. &
                        Com. Code;

                    (f) Determination as to Defendants’ Secured Status Pursuant to 11 U.S.C. § 506;

                    (g) Disallowance of Claims Pursuant to 11 U.S.C. § 502;

                    (h) Orders pertaining to Plaintiffs’ Objection to Defendant ROMSPEN’s ability
                        to credit bid,

                    (i) Disallowance of Credit Bidding as to ROMSPEN, pursuant to 11 U.S.C. §
                        363(k);

                    (j) Order for Accounting;

                    (k) For the imposition of a constructive trust over assets of Defendants procured
                        through fraud, breach of contract, misrepresentation, and/or unjust
                        enrichment; For pre-judgment interest at the highest legal rate and for the
                        longest period of time allowed by law on all elements of damage claimed
                        herein;




  4811-1816-7240, v. 1
                                                     86
20-01047-hcm Doc#1 Filed 08/20/20 Entered 08/20/20 14:17:10 Main Document Pg 89 of
                                        89



                    (l) Pre and post-judgment interest at the highest legal rate allowed by law on the
                        amount of the judgment entered by the Court from the date of judgment until
                        collected; and

                    (m) Such further and other relief this Court deems just and proper.



                                                          RESPECTFULLY SUMITTED
                                                          BRUCE J. DUKE, LLC
                                                          Attorneys for Daniel White, Individually
                                                          and as Trustee for the Dan White Family
                                                          Trust, A Canadian Trust; Dan White Family
                                                          Trust, A Canadian Trust; Absolute
                                                          Environmental Waste Management Inc.;
                                                          Absolute Energy Resources Inc.; Lot 11 GP,
                                                          Ltd.; Lot 11 Limited Partnership; Eco
                                                          Industrial Business Park, Inc.; Symmetry
                                                          Asset Management, Inc.; and Lincoln 1861,
                                                          Inc.


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  4811-1816-7240, v. 1
                                                    87
